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             UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT
                  __________________________________________________

                                 CONCISE SUMMARY OF THE CASE

                     Pursuant to 3rd Cir. LAR 33.3, counsel are required to file a concise summary of
the case within 14 days of the date of docketing of the Notice of Appeal. Total statement is limited to
no more than 2 pages, single-spaced. Counsel may utilize this form or attach a 2 page statement
encompassing the information required by this form.

SHORT Industria de Alimentos Zenú S.A.S. v. Latinfood U.S. Corp. d/b/a Zenú Products Co. and Wilson Zuluaga
CAPTION:_________________________________________________________________________

          23-2357
USCA NO.: ______________________

LOWER COURT or AGENCY and DOCKET NUMBER:
_________________________________________________________________
United States District Court, District of New Jersey


NAME OF
JUDGE:___________________________________________________________________________
      Hon. Kevin McNulty


Specify who is suing whom, for what, and the subject of this action. Identify (1) the nature of the
action; (2) the parties to this appeal; (3) the amount in controversy or other relief involved; and (4) the
judgment or other action in the lower court or agency from which this action is taken:
In the District Court action, Plaintiff Industria de Alimentos Zenú S.A.S. (“Industria” or “Plaintiff”) is suing
Latinfood U.S. Corp. d/b/a Zenú Products Co. and Wilson Zuluaga (collectively “Latinfood”) for alleged
trademark infringement, false advertising, misrepresentation of source, and unfair competition pursuant to the
Lanham Act (15 U.S.C. 1051 et seq) and related state law claims; copyright infringement (17 U.S.C. 501 et
seq) and for violations of the Inter-American Convention for Trademark and Commercial Protection (“IAC”), an
obscure foreign treaty. Plaintiff’s lawsuit seeks damages, injunctive relief, attorney fees and cancellation of
Latinfood’s valid and subsisting U.S. Registration No. 4,402,942. Latinfood is currently appealing the District
Court's decision to grant Plaintiff summary judgment and cancel Defendants' longstanding Zenú U.S.
Trademark Reg. No. 4,402,942 pursuant to Article 8 of the IAC and enjoining Latinfood from using the Zenú
and Ranchera marks in U.S. commerce pursuant to Article 18 of the IAC; and granting summary judgment on
Plaintiffs’ claim for source misrepresentation.
LIST and ATTACH a copy of each order, judgment, decision or opinion which is involved in this
appeal. If the order(s) or opinion(s) being appealed adopt, affirm, or otherwise refer to the report and
recommendation of a magistrate judge or the decision of a bankruptcy judge, the report and
recommendation or decision shall also be attached.
Dkt. No. 297, OPINION. Signed by Judge Kevin McNulty on 6/27/2023.(attached as Exhibit A)

Dkt. No. 298, ORDER granting in part and denying in part Plaintiff's motion for summary judgment
265 . Defendants' motion for summary judgment 268 is granted in part and denied in part. Signed by
Judge Kevin McNulty on 6/27/2023 (attached as Exhibit B)




                                                  Page 1 of 2
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Provide a short statement of the factual and procedural background, which you consider important to
this appeal:
See attached summary




Identify the issues to be raised on appeal:
See attached summary




This is to certify that this Concise Summary of the Case was electronically filed with the Clerk of the
U.S. Court of Appeals for the Third Circuit and a copy hereof served to each party or their counsel of
record

              day of August ,20 23 .
       18th
this

/s/ Mark J. Ingber
Signature of Counsel

Rev. 07/2015

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                                 CONCISE STATEMENT
This matter concerns two longstanding marks utilized by Defendants Latinfood U.S. Corp. d/b/a
Zenú Products Co. and Wilson Zuluaga (collectively “Latinfood” or “Defendants”) for two food
products sold by Defendants here in the United States: Zenú and Ranchera meat products.
Although the Ranchera mark was never formally registered by Latinfood, it possesses a valid and
subsisting U.S. Registration (No. 4,402,942) for its longstanding Zenú U.S. Trademark.

Plaintiff Industria de Alimentos Zenú S.A.S. (“Industria” or “Plaintiff”)—a Colombian
corporation—claims these same Zenú and Ranchera trademarks here in the United States despite
never having advertised, introduced, or sold any of its Colombian Zenú or Ranchera products in
the United States. It nonetheless brought suit against Latinfood for alleged trademark
infringement, false advertising, misrepresentation of source, and unfair competition pursuant to
the Lanham Act (15 U.S.C. 1051 et seq.) and related state law claims; copyright infringement (17
U.S.C. 501 et seq.); and for violations of the Inter-American Convention for Trademark and
Commercial Protection (“IAC”). Plaintiff’s lawsuit seeks damages, injunctive relief, attorney fees
and cancellation of Latinfood’s longstanding Zenú U.S. Trademark.

Latinfood brings this instant interlocutory appeal of the District Court’s decision—on summary
judgment—to permanently enjoin Latinfood from using its Zenú and Ranchera marks in U.S.
commerce pursuant to Article 18 of the IAC, the related cancellation of Defendants’ longstanding
Zenú U.S. Trademark pursuant to Article 8 of the IAC, and related decision to grant summary
judgment as to Plaintiff’s claim for source misrepresentation under § 14(3) of the Lanham Act.

The specific issues related to the District Court’s award of injunctive relief, to be addressed appeal,
are as follows:

   1. Whether, in a case of first impression in this Circuit and contrary to the law of the Second
      Circuit, the District Court was correct in concluding that the IAC inherently possesses a
      private right of action providing rights and remedies above and beyond those set forth
      within the operative provisions of the Lanham Act.

   2. Whether, in a case of first impression in this Circuit and contrary to the law of the Second
      Circuit, the District Court erred by improperly affording Plaintiff the priority rights set
      forth under § 44(d) despite Plaintiff’s non-compliance with the appropriate procedures.

   3. Whether, the District Court improperly ordered an immediate and permanent injunction
      against Defendants use of their longstanding Zenu and Ranchera marks, and related
      immediate cancellation of Defendants’ longstanding Zenu mark, pursuant to Articles 8 and
      18 of the IAC, without requisite due process consideration of the Third Circuit’s injunctive
      relief factors, see Shields v. Zuccarini, 254 F.3d 476, 482 (3d Cir. 2001), and based solely
      on Industria’s foreign Colombian trademark registrations.

   4. Whether the District Court improperly concluded that Industria has standing to pursue
      trademark claims under the Lanham Act where it never used its foreign trademarks in
      United States—a question never addressed by the Third Circuit—and despite Industria
      abandoning its U.S. trademarks for Zenú and Ranchera and having no name recognition in
      the U.S. Indeed, the District Court created new law in ordering the immediate injunction
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   and cancellation of a longstanding U.S. trademark registrations based solely on usage
   abroad.

5. Whether Plaintiff’s claims are in fact barred by the fundamental territoriality principle,
   which recognizes that a trademark has a separate existence in each sovereign territory in
   which it is registered or legally recognized as a mark.

6. Whether the District Court’s factual determinations undermining its award of injunctive
   relief and cancellation under the IAC were against the clear weight of the evidence and
   should not have been granted on summary judgment in any event.

7. Whether the District Court erred by improperly granting Industria’s source
   misrepresentation claims under § 14(3) of the Lanham Act. Specifically, whether the
   District Court erred as a matter of law by allowing a foreign petitioner to proceed under §
   14(3) upon ownership of foreign marks that it did not use in United States commerce.
   Additionally, whether the District Court erred in concluding that there was no genuine issue
   of material fact that Defendants’ application to the USPTO was fraudulent on three separate
   and independent grounds.
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                  EXHIBIT A
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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


  INDUSTRIA DE ALIMENTOS ZENU
  S.A.S.,

        Plaintiff/Counter Defendant,

        v.
                                                 Civ. No. 16-6576 (KM) (MAH)
  LATINFOOD U.S. CORP. d/b/a ZENU
  PRODUCTS CO. and WILSON                                   OPINION
  ZULUAGA,

       Defendants/Counter
  Claimants/Third Party Plaintiffs,

        v.

  CORDIALSA USA, INC.

        Third Party Defendant,


  KEVIN MCNULTY, U.S.D.J.:
        Plaintiff Industria De Alimentos Zenu S.A.S. (“Industria”), commenced
  this trademark and copyright action against Latinfood U.S. Corp. doing
  business as Zenu Products Co. (“Latinfood”), and Wilson Zuluaga1. Latinfood
  also asserted a counterclaim for tortious interference with prospective
  economic advantage against Industria and Cordialsa, Inc. (“Cordialsa”).
        Fact discovery is complete, and now before the Court are two motions for
  summary judgment.2 In the first, plaintiff Industria moves for summary



  1       Mr. Zuluaga has since legally changed his name to “Jack Wilson” because, he
  says, “he feared for his life from Industria.” (Pl. St. ¶ 22; Def. Resp. ¶ 22.) For
  consistency with the docket and the defendants’ own summary judgment papers, I will
  refer to him as Mr. Zuluaga.
  2     This case has been pending since 2016, in no small part because of the manner
  in which it has been litigated before the Magistrate Judge. (See infra; see also the
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  judgment on its own claims, and Industria and Cordialsa jointly move for
  summary judgment in opposition to defendants’ counterclaims. (DE 265.) In
  the second, defendants Latinfood and Zuluaga jointly move for summary
  judgment in opposition to Industria’s claims, but do not move for summary
  judgment on their counterclaims. (DE 268.) For the reasons expressed below,
  as to Industria’s claims, Industria’s motion for summary judgment is
  GRANTED in part and DENIED in part and Latinfood and Zuluaga’s motion
  for summary judgment is GRANTED in part and DENIED in part. As to
  defendants’ counterclaims, Industria and Cordialsa’s motion for summary
  judgment is GRANTED.
        BACKGROUND
        A. Facts3
        Industria is “a foreign corporation organized under the laws of Colombia
  and with its principal place of business in Medellín, Colombia.” (Def. St. ¶ 1; Pl.




  court’s accompanying decision on appeal from discretionary discovery-related rulings
  of the Magistrate Judge.)
  3 Certain citations to record are abbreviated as follows:


        “DE” = Docket entry number in this case
        “Compl.” = Industria’s Amended Complaint (DE 31)
        “Counterclaims” = Latinfood and Mr. Zuluaga’s Third-Amended Answer to
        Amended Complaint, Counterclaim against Industria, and Third-Party
        Complaint against Cordialsa (DE 89)
        “MTD Op.” = Court’s Opinion Denying Defendants’ Motion to Dismiss the
        Amended Complaint (DE 81)
        “Pl. Mot.” = Industria and Cordialsa’s Memorandum of Law in Support of their
        Motion for Summary Judgment (DE 265-1)
        “Pl. St.” = Industria and Cordialsa’s Statement of Undisputed Facts (DE 265-2)
        “Kadosh Decl.” = Declaration of Samuel Kadosh In Support of Industria and
        Cordialsa’s Motion For Summary Judgment (DE 266)
        “Salazar Decl.” = Declaration of Luis Ignacio Salazar In Support of Industria
        and Cordialsa’s Motion For Summary Judgment (DE 267)
        “Def. Mot.” = Latinfood and Mr. Zuluaga’s Memorandum of Law in Support of
        their Motion for Summary Judgment (DE 268-1)


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  Resp. ¶ 1.) Industria produces and distributes food products under two brand
  names relevant to this dispute: Zenú and Ranchera.4 (See Pl. St. ¶ 1; Def. Resp.
  ¶ 1.) Industria’s Zenú-branded products, which it has sold in Colombia for
  more than 60 years, include various meat products, canned vegetables, and



        “Def. St.” = Latinfood and Mr. Zuluaga’s Statement of Undisputed Facts (DE
        268-3)
        “Ingber Decl.” = Declaration of Mark J. Ingber In Support of Latinfood and Mr.
        Zuluaga’s Motion for Summary Judgment (DE 269)
        “Def. Op.” = Latinfood and Mr. Zuluaga’s Memorandum in Opposition to
        Industria and Cordialsa’s Motion for Summary Judgment (DE 273)
        “Def. Resp.” = Latinfood and Mr. Zuluaga’s Response and Objections to
        Industria and Cordialsa’s Statement of Material Facts (DE 273-1)
        “Def. Supp. St.” = Latinfood and Mr. Zuluaga’s Supplemental Statement of
        Disputed Material Facts (DE 273-2)
        “Ingber Op. Decl.” = Declaration of Mark J. Ingber In Support of Latinfood’s and
        Mr. Zuluaga’s Memorandum in Opposition To Industria and Cordialsa’s Motion
        For Summary Judgment (DE 273-3)
        “Def. Cross Mot.” = Latinfood and Mr. Zuluaga’s Cross Motion for Attorney Fees
        (DE 274)
        “Pl. Op.” = Industria and Cordialsa’s Memorandum of Law in Opposition to
        Latinfood and Mr. Zuluaga’s Motion for Summary Judgment (DE 275)
        “Pl. Resp.” = Industria and Cordialsa’s Response to Latinfood and Mr. Zuluaga’s
        Statement of Material Facts (DE 275-1)
        “Kadosh Op. Decl.” = Declaration of Samuel Kadosh in Opposition to Latinfood
        and Mr. Zuluaga’s Motion for Summary Judgment (DE 275-2)
        “Def. Reply” = Latinfood and Mr. Zuluaga’s Reply Brief in Support of Motion for
        Summary Judgment (DE 279)
        “Ingber Reply Decl.” = Reply Declaration of Mark J. Ingber in Support of
        Latinfood and Mr. Zuluaga’s Motion for Summary Judgment (DE 279-1)
        “Pl. Reply” = Industria and Cordialsa’s Reply Brief in Support of Motion for
        Summary Judgment (DE 280)
        “Pl. Supp. Resp.” = Industria and Cordialsa’s Response to Latinfood and Mr.
        Zuluaga’s Supplemental Statement of Disputed Material Facts (DE 280-1)
  4      For this statement, and many others, Latinfood “denies” the statement on the
  basis that it is not material, but does not otherwise dispute it factually. Where
  Latinfood has objected to a fact on the basis of materiality, the Court has construed
  the factual statement as admitted and will separately consider materiality as
  appropriate.


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  frozen dishes. (Pl. St. ¶¶ 2–3; Def. Resp. ¶¶ 2–3.) The Zenú packaging displays
  “the Zenú mark in red stylized type; red and white packaging; and photographs
  of the food on a white background.” (Pl. St. ¶ 4; Def. Resp. ¶ 4.) Industria’s
  Ranchera-branded products, which it has sold in Colombia for more than 30
  years, include various meat products and sausages. (Pl. St. ¶¶ 5–6; Def. Resp.
  ¶¶ 5–6.) The Ranchera name is displayed on packaging in a red “western” or
  “rancher-inspired” font which is “outlined first in white and then in black,
  curving slightly upward in the middle of the word.” (Pl. St. ¶ 7; Def. Resp. ¶ 7.)
  For Ranchera “salchicha” sausages, a “rancher theme” is used on the packages
  showing a family around a campfire at sunset. (Pl. St. ¶ 9; Def. Resp. ¶ 9.)
        From 2012 to 2017, Industria “spent over $33 million in advertisement
  for its Ranchera products line and over $77 million in advertisement for its
  Zenú products line including for advertisement on television, radio and
  magazines.” (Pl. St. ¶ 15; Def. Resp. ¶ 15.) Annually, Industria makes
  approximately $300,000,000 in sales of Zenú products and $100,000,000 in
  sales of Ranchera products. (Pl. St. ¶ 16; Def. Resp. ¶ 16.) However, Industria
  does not advertise or sell its Zenú or Ranchera products in the United States.5
  (Def. St. ¶¶ 6–7, 14; Pl. Resp. ¶¶ 6–7, 14.) Industria has also not conducted any
  market surveys specific to the United States for its Zenú or Ranchera marks.
  (Def. St. ¶ 34; Pl. Resp. ¶ 34.)
        Industria has never owned a registered U.S. trademark for Ranchera.
  (Def. St. ¶ 4; Pl. Resp. ¶ 4.) On November 14, 2016, Industria filed an
  application with the U.S. Patent and Trademark Office (“USPTO”) to register its
  Ranchera mark, but a U.S. corporation (unrelated to this action) filed a notice
  of opposition to the application based on its ownership of a U.S. trademark for
  “Ranchero.” (Def. St. ¶¶ 21–22; Pl. Resp. ¶¶ 21–22.) On November 6, 2019, the
  USPTO suspended the opposition proceeding until resolution of the instant



  5     The parties do not dispute that from 2012 to 2017 Industria’s website has been
  accessed on thousands of occasions by people located in the United States. (Pl. St.
  ¶¶ 17–18; Def. Resp. ¶¶ 17–18.)


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  action. (Def. St. ¶ 22; Pl. Resp. ¶ 22.) Additionally, although Industria once
  owned a registered U.S. trademark for Zenú, such registration is no longer in
  effect. (Def. St. ¶ 2; Pl. Resp. ¶ 2.) Industria never sold any Zenú or Ranchera
  products in the United States when it owned that registered trademark. (Def.
  St. ¶ 61; Pl. Resp. ¶ 61.)
        Mr. Zuluaga was born in Medellín, Colombia, and lived in Colombia until
  he was approximately 17 years old. (Pl. St. ¶¶ 19–20; Def. Resp. ¶¶ 19–20.) In
  around 2010, Mr. Zuluaga founded a company called HWZ Distributors
  (“HWZ”). (Pl. St. ¶ 24; Def. Resp. ¶ 24.) “HWZ distributed perishable and non-
  perishable food products, including panela, guava-based snacks, beverages,
  and meat products such as sausages.” (Pl. St. ¶ 25; Def. Resp. ¶ 25) “HWZ
  distributed its products in New York, New Jersey and Connecticut,” and
  generally targeted customers of Hispanic origin. (Pl. St. ¶¶ 26–27; Def. Resp.
  ¶¶ 26–27.)
        At some point after founding HWZ, Mr. Zuluaga began distributing
  products under the Zenú name. The parties dispute when Mr. Zuluaga first
  used the Zenú name in commerce, with Mr. Zuluaga claiming first use in 2011.
  (Def. St. ¶ 16; Pl. Resp. ¶ 16.) On January 25, 2013, HWZ submitted an
  application to register the Zenú trademark with the USPTO through a filing
  service called Idaho Falls IS USTM Corp. (“USTM”). (Pl. St. ¶¶ 28–29; Def. Resp.
  ¶¶ 28–29.) The application bears Mr. Zuluaga’s signature. (Pl. St. ¶ 32; Def.
  Resp. ¶ 32.) Attached to that application were exemplars consisting of actual
  images of Industria’s products. (Pl. St. ¶ 33; Def. Resp. ¶ 33.) Mr. Zuluaga
  disclaims any knowledge of this act by USTM, and claims to have been
  unaware of Industria’s Zenú mark prior to the filing of that application. (See Pl.
  St. ¶ 30; Def. Resp. ¶ 30.) The USPTO registered the Zenú trademark to HWZ
  for International Class 29 goods on September 17, 2013. (Pl. St. ¶ 36; Def.
  Resp. ¶ 36.) That same day, HWZ recorded an assignment of its entire interest
  in the Zenú trademark to Latinfood, the successor company to HWZ. (Pl. St.
  ¶ 37; Def. Resp. ¶ 37; Def. St. ¶¶ 16–17; Pl. Resp. ¶¶ 16–17.) Almost two years
  after the initial trademark registration, Mr. Zuluaga wrote an email to USTM

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  stating that “we need to replace / change the pic of the specimen loaded in the
  application. . . . [T]he one showed in the application is not mine.” (Pl. St. ¶ 34;
  Def. Resp. ¶ 34.)
           At some point in 2013, “HWZ was wound down and Mr. Zuluaga founded
  Latinfood . . . as the successor company to HWZ.” (Pl. St. ¶ 37; Def. Resp.
  ¶ 37.) Latinfood is a distributor of perishable and non-perishable food items
  such as groceries, brown sugar, beverages, processed meats, flour, and corn.
  (Pl. St. ¶ 38; Def. Resp. ¶ 38.) Latinfood targets primarily Hispanic customers
  in the U.S. (Pl. St. ¶ 39; Def. Resp. ¶ 39.)
           Mr. Zuluaga used a company called Cibao Meats Products (“Cibao”) to
  design Latinfood’s Zenú and Ranchera product labels and recipes. (Pl. St.
  ¶¶ 44, 63; Def. Resp. ¶¶ 44, 63.) Mr. Zuluaga instructed Ms. Jaline Isidor
  Horta, a marketing assistant at Cibao, to look at Industria’s website when
  creating Latinfood’s packaging designs. (Pl. St. ¶¶ 46–53; Def. St. ¶¶ 46–53;
  Def. Supp. St. ¶ 20; Pl. Supp. Resp. ¶ 20.) Mr. Zuluaga also brought one of
  Industria’s Ranchera labels to Ms. Isidor’s office.6 (Pl. St. ¶ 57; Def. Resp. ¶ 57.)
           Examples of both Industria’s and Latinfood’s Zenú and Ranchera labels
  are attached to this opinion as Exhibit A. (Kadosh Decl. Exs. 16–17, 20–21;
  Salazar Decl. Exs. D–G, V–W; Pl. St. ¶¶ 65–66, 68–69; Def. Resp. ¶¶ 65–66, 68–
  69.)7 However, Latinfood has since modified its Zenú mark, which is attached
  to this Opinion as Exhibit B. (Kadosh Decl. Exs. 18–19; Pl. St. ¶ 67; Def. Resp.
  ¶ 67.)
           Some of Latinfood’s Zenú and Ranchera product labels state that the
  product is manufactured or distributed by “Zenú Products US, Inc.”; display
  the web address www.zenu.us.com; and contain the phrase “Linea de



  6     The parties agree that Mr. Zuluaga advised Ms. Isidor to look at Industria’s
  website, but disagree as to the remainder of the conversation. Latinfood does not
  dispute that Mr. Zuluasga brought the label to Ms. Isidor, but appears to dispute the
  reason for doing so.
  7       Latinfood asserts that these labels are no longer in use, but does not dispute
  that it previously used these labels.


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  Exportacion,” which translates to “exportation line.” (Pl. St. ¶¶ 71–73; Def.
  Resp. ¶¶ 71–73.) Latinfood does not export its Zenú or Ranchera products
  outside the United States. (Pl. St. ¶ 74; Def. Resp. ¶ 74.) In 2016, the Latinfood
  website contained the phrase “We have products from” followed by marks of
  imported brands, among which was an image of Industria’s Zenú mark.8 (Pl.
  St. ¶ 75; Def. Resp. ¶ 75.) Advertisements made for Latinfood Zenú products
  used the phrase “una deliciosa tradición,” which translates to “a delicious
  tradition.” (Pl. St. ¶ 76; Def. Resp. ¶ 76.)
        Latinfood sold its products in various supermarkets. One supermarket,
  Food Fair, sold Latinfood’s products in an aisle designated for “Hispanic and
  Latin imported goods,” despite having another aisle designated for similar
  goods made in the U.S. (Pl. St. ¶¶ 80–81; Def. Resp. ¶¶ 80–81.) On July 15,
  2015, Alejandro Yepes, a sales manager for Cordialsa, made a visit to Food
  Fair. (Pl. St. ¶ 120; Def. Resp. ¶ 120.) Yepes told Elvis Rodriquez, the manager
  of Food Fair, that he was “surprised to find” Zenú-marked products at the
  store. (Pl. St. ¶ 121; Def. Resp. ¶ 121.) It is unclear whether, as part of that
  conversation, Mr. Yepes stated that the Zenú products were “fake.” (See Pl. St.
  ¶ 127; Def. Resp. ¶ 127.) As it turns out, Mr. Zuluaga was also at Food Fair on
  July 15. After Mr. Rodriguez explained to Mr. Zuluaga what Mr. Yepes’s had
  said, Mr. Zuluaga confronted Mr. Yepes. (Pl. St. ¶ 137; Def. Resp. ¶ 137.)
  Sometime after this interaction, Food Fair ceased carrying Latinfood’s
  products. (Pl. St. ¶¶ 145–149; Def. Resp. ¶¶ 145–149.) Food Fair’s reason for
  doing so is unclear. (Id.)
        Industria asserts that it had plans to sell its Zenú and Ranchera
  products in the United States; however, the extent of Industria’s plans and the
  reason for Industria’s decision not to import its products is heavily disputed by
  the parties. (See generally Pl. St. ¶¶ 84–106, 119; Def. Resp. ¶¶ 84–106, 119.)


  8      Defendants assert that this was only an interim website, but do not dispute
  that the website was publicly available online. (See Def. Resp. ¶ 75; Kadosh Decl. Ex.
  43 Zuluaga Tr. 181:22–25, 184:15–22.) Mr. Zuluaga denies that he personally
  authorized the placement of the website online.


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  In December 2010 and January 2011, Industria and Cordialsa took steps to
  import Zenú-marked goods into the United States. (Pl. St. ¶¶ 84, 86–87; Def.
  Resp. ¶¶ 84, 86–87.) However, at some point, Industria paused its import
  plans, for reasons that are disputed by the parties. (Pl. St. ¶ 90; Def. Resp.
  ¶ 90) Industria asserts it paused its plans because Cordialsa did not have a
  large enough distribution network for the endeavor to be profitable, whereas
  Latinfood cites United States restrictions on importing certain foods. (See id.)
  Industria claims that, in 2014, it restarted its plans to import Zenú-marked
  goods into the United States because Cordialsa’s distribution network had
  grown, thereby increasing the potential for sales. Latinfood disputes that
  contention and states that Industria still could not import its goods in 2014
  because of sanitary reasons and import restrictions. (See Pl. St. ¶ 91; Def.
  Resp. ¶ 91; Def. St. ¶¶ 58–60; Pl. Resp. ¶¶ 58–60)
        The date on which Industria first became aware of Latinfood’s Zenú and
  Ranchera products is in dispute, but it was sometime between October 2013
  and September 2014. (Def. Supp. St. ¶ 15; Pl. Supp. Resp. ¶ 15; Def. St. ¶¶ 42,
  45, 47; Pl. Resp. ¶¶ 42, 45, 47.) On September 9, 2014, Industria filed a
  Petition for Cancellation of Latinfood’s Zenú mark with the Trademark Trial
  and Appeal Board (“TTAB”). (Pl. St. ¶ 115; Def. Resp. ¶ 115.) On November 20,
  2014, Industria filed an application with the USPTO to register its Zenú mark
  for International Class 29 goods.9 (Pl. St. ¶ 116; Def. Resp. ¶ 116.) On October
  4, 2015, Industria received a suspension notice in connection with its
  application to register its Zenú mark. The notice stated that that the civil
  proceeding in connection with its Petition for Cancellation “pertains to an issue
  that could directly affect whether applicant’s mark can be registered.” (Pl. St.
  ¶ 117; Def. Resp. ¶ 117.) On November 7, 2016, the proceeding in connection
  with Industria’s Petition for Cancellation was suspended. (Pl. St. ¶ 118; Def.
  Resp. ¶ 118.)



  9     Latinfood describes this as a “non-use application.” (Def. Resp. ¶ 116.)


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        B. Procedural History
        Industria initiated this action on October 5, 2016. (DE 1.) On April 21,
  2017, Industria filed the currently operative pleading, its Amended Complaint.
  Industria’s Amended Complaint asserts the following claims:
           o false association, false advertising, and trade dress infringement
              under 15 U.S.C. § 1125(a) (Counts 1 through 4);
           o copyright infringement under 17 U.S.C. § 501 (Counts 5 through
              10);
           o source misrepresentation under 15 U.S.C. § 1064 (Count 11);
           o trademark cancellation and commercial name protection under the
              Inter-American Convention for Trade Mark and Commercial
              Protection (Counts 12 through 14); and
           o unfair competition under New Jersey law (Counts 15 and 16).
  (DE 31.) On May 19, 2017, Latinfood and Zuluaga filed an answer to Counts 5
  through 10 of Industria’s Amended Complaint and moved to dismiss the
  remainder of the Amended Complaint. (DE 36, 37.) On December 29, 2017, I
  issued an opinion denying the defendants’ partial motion to dismiss. (DE 81.)
        On January 29, 2018, Latinfood and Zuluaga filed their Third Amended
  Answer to the amended complaint, in which they asserted a counterclaim
  against Industria and third-party claim against Cordialsa for tortious
  interference with prospective economic advantage. (DE 89.) Industria and
  Cordialsa filed a motion to dismiss Latinfood and Zuluaga’s
  counterclaim/third-party claim (DE 69, 77, 78, 92), which I denied in a written
  opinion on March 9, 2018 (DE 95). On March 23, 2018, Industria and
  Cordialsa filed their answer to the counterclaims. (DE 97.)
        On October 10, 2022, each side filed a summary judgment motion. (DE
  265, 268.) On November 23, 2022, the parties filed briefs in opposition to one
  another’s summary judgment motions and cross-moved for attorney’s fees. (DE
  273, 274, 275.) On December 22, 2022, the parties filed reply briefs in support




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  of their respective motions. (DE 279, 280.) The parties’ summary judgment
  motions are fully briefed and ripe for decision.
         LEGAL STANDARD
         Summary judgment is appropriate where “the movant shows that there is
  no genuine dispute as to any material fact and the movant is entitled to
  judgment as a matter of law.” Fed. R. Civ. P. 56(a). A fact is material if it “might
  affect the outcome of the suit under the governing law” and a dispute about a
  material fact is genuine “if the evidence is such that a reasonable jury could
  return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477
  U.S. 242, 248 (1986). Disputes over irrelevant or unnecessary facts will not
  preclude the Court from granting a motion for summary judgment. See id.
         A party moving for summary judgment has the initial burden of showing
  the basis for its motion and must demonstrate that there is an absence of a
  genuine issue of material fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 323
  (1986). “A party asserting that a fact [is not] genuinely disputed must support
  the assertion by . . . citing to particular parts of materials in the record,
  including depositions, documents . . ., affidavits or declarations, stipulations
  (including those made for purposes of the motion only), admissions,
  interrogatory answers, or other materials.” Fed. R. Civ. P. 56(c)(1)(A). After the
  moving party adequately supports its motion, the burden shifts to the
  nonmoving party to “go beyond the pleadings and by her own affidavits, or by
  the depositions, answers to interrogatories, and admissions on file, designate
  specific facts showing that there is a genuine issue for trial.” Celotex, 477 U.S.
  at 324 (internal quotation marks omitted). To withstand a properly supported
  motion for summary judgment, the nonmoving party must identify specific
  facts and affirmative evidence that contradict the moving party. Anderson, 477
  U.S. at 250. “[I]f the non-movant's evidence is merely ‘colorable’ or is ‘not
  significantly probative,’ the court may grant summary judgment.” Messa v.
  Omaha Prop. & Cas. Ins. Co., 122 F.Supp.2d 523, 528 (D.N.J. 2000) (quoting
  Anderson, 477 U.S. at 249-50)). “If reasonable minds could differ as to the



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  import of the evidence,” however, summary judgment is not appropriate.
  Anderson, 477 U.S. at 250-51.
         “In considering a motion for summary judgment, a district court may not
  make credibility determinations or engage in any weighing of the evidence;
  instead, the nonmoving party’s evidence ‘is to be believed and all justifiable
  inferences are to be drawn in his favor.’” Marino v. Indus. Crating Co., 358 F. 3d
  241, 247 (3d Cir. 2004) (quoting Anderson, 477 U.S. at 255)). In that respect,
  the Court’s role in deciding a motion for summary judgment is simply “to
  determine whether there is a genuine issue for trial.” Anderson, 477 U.S. at
  249. Ultimately, there is “no genuine issue as to any material fact” if a party
  “fails to make a showing sufficient to establish the existence of an element
  essential to that party’s case.” Celotex, 477 U.S. at 322.
         When, as here, the parties file cross-motions for summary judgment, the
  governing standard “does not change.” Auto-Owners Ins. Co. v. Stevens & Ricci,
  Inc., 835 F.3d 388, 401 (3d Cir. 2016) (citing Appelmans v. City of Phila., 826
  F.2d 214, 216 (3d Cir. 1987)). The court must consider the motions
  independently, in accordance with the principles outlined above. Goldwell of
  N.J., Inc. v. KPSS, Inc., 622 F. Supp. 2d 168, 184 (D.N.J. 2009); Williams v.
  Philadelphia Housing Auth., 834 F. Supp. 794, 797 (E.D. Pa3), aff’d, 27 F.3d
  560 (3d Cir. 1994). That one of the cross-motions is denied does not imply that
  the other must be granted. For each motion, “the court construes facts and
  draws inferences in favor of the party against whom the motion under
  consideration is made” but does not “weigh the evidence or make credibility
  determinations” because “these tasks are left for the fact-finder.” Pichler v.
  UNITE, 542 F.3d 380, 386 (3d Cir. 2008) (internal quotation and citations
  omitted). While keeping in mind the independence of the motions, I have where
  practicable combined the discussion.
         DISCUSSION: IAC Claims
         I deal first with Industria’s claims under the Inter American Convention
  for Trademark and Commercial Protection (“IAC”). These do not directly



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  concern damages for infringement, but instead relate to trademark registration
  and priority in the United States. Industria asserts claims of trademark
  cancellation pursuant to Articles 7 and 8 of the IAC (Count 12); and
  commercial name protection pursuant to Articles 16, 17, 18, and 31 of the IAC
  (Count 13).10
         In Section III.A, I discuss Latinfood’s11 motion for summary judgment
  insofar as it asserts threshold, generally applicable grounds in opposition to
  the IAC claims. Then, in Section III.B, I discuss the dueling motions for
  summary judgment in relation to the specific requirements of the individual
  claims under the IAC.
         A. Latinfood’s Motion for Summary Judgment with respect to
            the IAC Claims Generally
         Latinfood asserts that it is entitled to summary judgment denying
  Industria’s IAC claims on generally applicable, threshold grounds.
                   Territoriality doctrine
         Latinfood asserts that the IAC claims are barred by the territoriality
  doctrine. “Under the territoriality doctrine, a trademark is recognized as having
  a separate existence in each sovereign territory in which it is registered or
  legally recognized as a mark.” 4 McCarthy on Trademarks and Unfair
  Competition § 29:1 (4th ed. 2000) (citing Person’s Co. v. Christman, 900 F.2d
  1565, 14 (Fed. Cir. 1990)). “The concept of territoriality is basic to trademark
  law; trademark rights exist in each country solely according to that country’s
  statutory scheme.” Kos Pharms., Inc. v. Andrx Corp., 369 F.3d 700, 714 (3d Cir.
  2004) (quoting Fuji Photo Film Co. v. Shinohara Shoji Kabushiki Kaisha, 754
  F.2d 591, 599 (5th Cir. 1985)). “Thus, absent some use of its mark in the
  United States, a foreign mark holder generally may not assert priority rights


  10      Industria also asserts a claim for trademark cancellation pursuant to Article 12
  of the IAC (Count 14), but does not move for summary judgment on this claim.
  11    In this legal discussion, the term “Latinfood” generally refers jointly to
  defendants Latinfood and Zuluaga, unless otherwise noted. “Latinfood” should also be
  understood to encompass its predecessor entity, HWZ.


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  under federal law, even if a United States competitor has knowingly
  appropriated that mark for his own use.” ITC Ltd. v. Punchgini, Inc., 482 F.3d
  135, 156 (2d Cir. 2007) (citing Person’s, 900 F.2d at 1569–70).
         However, the territoriality doctrine is not absolute. See Grupo Gigante SA
  De CV v. Dallo & Co., 391 F.3d 1088, 1094 (9th Cir. 2004) (recognizing the
  “well-known marks” doctrine as an exception to the territoriality doctrine). And
  nations, while insisting on their sovereignty in most areas, may elect to relax
  their privileges in pursuit of some worthwhile policy. See Person’s, 900 F.2d at
  1569 n.16 (recognizing that Section 44 of the Lanham Act allows qualified
  foreign applicants to obtain a U.S. trademark registration without actual use of
  the mark in the U.S.). Here, the U.S. has purposely breached the territoriality
  principle by entering into mutual treaty obligations with certain foreign
  nations. The IAC is a self-executing treaty, having the force of law by virtue of
  its enactment. See Bacardi Corp. of Am. v. Domenech, 311 U.S. 150, 160–163
  (1940). The IAC has thus been recognized as an exception to the territoriality
  principle. See Brit.-Am. Tobacco Co. Ltd. & Tabacalera Ist Mens, S.A. v. Philip
  Morris Inc., 55 U.S.P.Q.2d 1585, 2000 WL 1005433, *5 (T.T.A.B. 2000).
         I therefore will not grant summary judgment to Latinfood under the
  theory that the territoriality doctrine bars Industria’s IAC claims.
                  Private Cause of Action
         Latinfood asserts that the IAC does not create a private cause of action
  (Def. Mot. p. 35), despite my having previously rejected that legal argument in
  the opinion denying the motion to dismiss. (See MTD Op.) There, I reviewed
  numerous Articles of the IAC and found that their language “strongly supports
  a finding of intent to create a private cause of action.” (Id. pp. 34–35.)
  Specifically, I relied on Articles 1, 7, 8, 12, 17, 18, 30, and 31, which I quoted.
  (Id. pp. 35–38.) I recognized that “the IAC manifests a specific intent to confer a
  private right of action on individuals.” (Id. p. 38.)
         The parties do not cite to any subsequent case law that would undermine
  or change that analysis, and the Court’s research has uncovered none.



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  Latinfood’s continued reliance on Medellin v. Texas, 552 U.S. 491 (2008), is
  unavailing because, as stated in my prior opinion, the language of the IAC is
  “sufficiently clear to overcome the general presumption stated in, e.g.,
  Medellin.” (MTD Op. p. 38.)
         As I have already decided, then, the IAC provides a private cause of
  action.
                  Repression of Unfair Competition
         Latinfood argues that Industria cannot maintain any claims under the
  IAC because such claims do not relate to the “repression of unfair competition”
  under Section 44(h) of the Lanham Act. (Def. Mot. pp. 41–42.) For support,
  Latinfood relies on Havana Club Holding, S.A. v. Galleon S.A., 203 F.3d 116 (2d
  Cir. 2000) and Empresa Cubana del Tabaco v. Culbro Corp., 213 F. Supp. 2d
  247 (S.D.N.Y. 2002).
         In Havana Club, a Cuban rum producer, Havana Club, brought an action
  against an American rum producer, Bacardi, alleging trademark infringement
  and false designation of origin. 203 F.3d at 119. The history of Havana Club’s
  trademark rights was complicated by the nationalization of industries after the
  1959 Cuban revolution and subsequent U.S. embargos on trade with Cuba.
  Post-revolution, the (now-state-owned) enterprise registered the Havana Club
  trademark with Cuban authorities in 1974 and with the United States in 1976.
  In 1997, Bacardi purchased the rights to the Havana Club trademark. Also in
  1997, however, the United States revoked the Cuban state enterprise’s
  registration.
         Havana Club never sold rum under that name in the United States, but
  in 1995, Bacardi began to do so. In 1996, Havana Club filed an action in the
  U.S. to enjoin Bacardi from using the Havana Club trademark, alleging
  violations of Sections 32 and 43(a) of the Lanham Act and asserting rights to
  the Havana Club trade name under Sections 44(g) and 44(h) of the Lanham Act
  and Section III of the IAC.




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         The Second Circuit recognized that rights to trade names and
  commercial names protected by treaties may be brought under Section 44(b)
  and Section 44(g) of the Lanham Act. Id. at 126. Nevertheless, for different
  reasons, neither claim was permitted to go forward.
         The Second Circuit held that, because the case involved a Cuban
  business, the Omnibus Consolidated and Emergency Supplemental
  Appropriations Act, 1999, Pub.L. No. 105–277, § 211(b), 112 Stat. 2681
  (“Omnibus Act”), applied. Section 211(b) of the Omnibus Act, barred the U.S.
  court from enforcing Havana Club’s Section 44(b) trade name and commercial
  name rights under the IAC:
         (b) No U.S. court shall recognize, enforce or otherwise validate any
         assertion of treaty rights by a designated national or its successor-
         in-interest under sections 44(b) or (e) of the Trademark Act of 1946
         (15 U.S.C. 1126(b) or (e)) for a mark, trade name, or commercial
         name that is the same as or substantially similar to a mark, trade
         name, or commercial name that was used in connection with a
         business or assets that were confiscated unless the original owner
         of such mark, trade name, or commercial name, or the bona fide
         successor-in-interest has expressly consented.

  Id. at 127.
         As to Havana Club’s Section 44(h) claim, however, Omnibus Act Section
  211(b) would not apply. The 44(h) claim nevertheless failed, for reasons
  relevant to the discussion here. The Second Circuit held that Section 44(h) of
  the Lanham Act only reaches provisions of the IAC that relate to “the
  repression of unfair competition.” Id. at 134. One of Havana Club’s Section
  44(h) claims sought to apply Article 23 of the IAC, which concerns “Repression
  of False Indications of Geographical Origin or Source.” The Court held that
  Havana Club could “not rely on this provision in asserting its section 44(h)
  claim, however, because the IAC does not treat rights under article 23 as rights
  related to the repression of unfair competition.” Id. 135 n. 19.
         Empresa similarly involved a Cuban company attempting to enforce its
  Cuban trademark against a United States company. 213 F. Supp. 2d at 251–



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  52. That Cuban plaintiff moved for partial summary judgment on its claims
  under Articles 7 and 8 of the IAC, which it asserted via Section 44(h) of the
  Lanham Act, as opposed to Section 44(g). Id. at 281. The court, citing Havana
  Club, recognized the requirement that the claims involve “rights related to the
  repression of unfair competition.” Id. 280–81. Articles 7 and 8, however, are
  found in Chapter II of the IAC, titled “Trademark Protection,” and are not
  “related to the repression of unfair competition.” Id. at 281–82. Thus, the court
  acknowledged that Articles 7 and 8, even if they might have been enforceable
  under Section 44(g), are not enforceable under Section 44(h), the section under
  which the plaintiff brought its claims. Id. Therefore, the court dismissed the
  plaintiff’s IAC claims. Id. at 282.
         The holdings of Havana and Empresa do not foreclose Industria’s claims
  under Articles 7 and 8 of the IAC. Both cases recognized that Articles 7 and 8
  of the IAC are incorporated by Section 44(g) of the Lanham Act. There was no
  Section 44(g) claim in Empresa, and the 44(g) claims in Havana failed for
  reasons that do not apply here: specifically that, as claims by a Cuban entity,
  they were explicitly barred by Section 211(b) of the Omnibus Act. Indeed,
  Congress’s explicit barring of such claims in the Omnibus Act implies that, but
  for the Omnibus Act, they would be viable under Articles 7 and 8 of the IAC. It
  follows that Industria (which is not a Cuban entity) may assert IAC claims, not
  under Section 44(h), but under 44(g).
         Latinfood asserts the same argument in relation to Industria’s claims
  under Articles 12, 16, 17, 18, and 31. Article 12 falls under the same chapter
  as Articles 7 and 8, Chapter II, “Trademark Protection,” and is therefore validly
  incorporated by Section 44(g) of the Lanham Act. Similarly, Articles 16, 17, and
  18 fall under Chapter III titled “Protection of Commercial Names,” which falls
  under Section 44(g). Article 31 is simply a remedies provision.
         I therefore will deny summary judgment to Latinfood on this ground.




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                  Compliance with the Requirements of Domestic Law
         Latinfood argues that Industria cannot maintain its IAC claims
  because it did not “compl[y] with the requirements established by the
  domestic legislation in such country and by this Convention.” Industria,
  it says, failed to comply with domestic U.S. legislation because it did not
  use the mark in U.S. commerce or establish priority under Section 44(d)
  of the Lanham Act. (Def. Mot. pp. 40–41.)
         I begin by addressing the meaning of the phrase “upon compliance with
  the requirements established by the domestic legislation in such country” in
  Article 7 (and the parallel requirements found in Articles 8, 17, and 18).12 For
  the reasons that follow, I conclude that Industria is not required to satisfy
  Section 44(d) in order to be deemed in compliance with the requirements of
  U.S. law. “Congress enacted Section 44(d) of the Lanham Act to implement
  treaty rights regarding priority of foreign registrants,” but Industria is not
  claiming priority rights in the U.S. pursuant to 44(d). See Empresa Cubana del
  Tabaco v. Culbro Corp., 399 F.3d 462, 483 (2d Cir. 2005); (Pl. Reply p. 23.)
  Rather, Industria is applying for registration under Section 44(e) of the Lanham
  Act (see Kadosh Decl. Ex. 28), and that is sufficient to satisfy this requirement
  under Article 7 (and the parallel requirements found in Articles 8, 17, and 18),
  as established in the following case law.
         In Diaz v. Servicios de Franquicia Pardo’s S.A.C., the applicant sought to
  register the mark Pardo’s Chicken under Section 44(e) of the Lanham Act based
  on its Peruvian registration of that mark. 83 U.S.P.Q.2d 1320, 2007 WL
  549241, *1 (T.T.A.B. 2007). The opposer argued that the application should be
  denied because the applicant’s mark resembled the opposer’s Pardo’s Chicken


  12     I discuss this requirement in relation to Article 7, a convenient exemplar. It
  applies equally to the other Articles on which Industria brings its claims. Article 8
  includes the phrase “in accordance with the legal procedure of the country in which
  cancellation is sought”; Article 17 includes the phrase “in accordance with the law and
  the legal procedure of such countries”; and Article 18 includes the phrase “in
  accordance with the law and procedure of the country where the proceeding is
  brought.”


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  mark, which it had used in U.S. commerce. The applicant asserted priority over
  the opposer’s mark based on Article 7 of the IAC. Id. The opposer argued that
  the applicant could not sustain its Article 7 claim because Congress had
  incorporated the rights under Article 7 through Section 44 of the Lanham Act,
  and the applicant could not satisfy all of the requirements of Section 44. Thus,
  the argument ran, the applicant had failed to show “compliance with the
  requirements established by the domestic legislation in such country and by
  this Convention.” Id. at *3–*4.
         The Board disagreed with the opposer. It interpreted the final clause of
  Article 7 as merely requiring the filing of an application pursuant to either
  Section 44(d) or Section 44(e). Id. at *6. The Board held that the applicant had
  satisfied the final clause of Article 7 because it had duly filed its application
  under Section 44(e) of the Lanham Act. Id. at *12. The concern of the Board’s
  analysis appears to be that the Article 7 petitioner not be held to a lesser
  standard than a claimant under domestic law as to the particular trademark
  claim that is being made.
         The Court agrees that Section 44(d) does not independently limit the
  scope of IAC Article 7. As I recognized in my prior opinion, “international
  treaties, and Article 7 in particular, may grant rights broader than those
  granted by domestic law, including the Lanham Act. Contrariwise, Section
  44(d) is not the only potentially applicable section of the Lanham Act.” (MTD
  Op. p. 41.) A “treaty will not be deemed to have been abrogated or modified by
  a later statute unless such purpose on the part of Congress has been clearly
  expressed. . . . What is required is a clear expression by Congress of a purpose
  to override protection that a treaty would otherwise provide.” Havana Club, 203
  F.3d at 124. I find no clear expression of a purpose to confine protection to
  Section 44(d) and exclude protection under Section 44(e).
         I will not grant Latinfood’s motion for summary judgment on this basis,
  because I find no clear indication in the Lanham Act that Congress intended to
  limit the reach of Articles 7, 8, 17, or 18 to the requirements of Section 44(d).



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         In summary, I will deny Latinfood’s motion for summary judgment
  insofar as it is based on these threshold grounds applicable to the IAC claims
  generally. I therefore move on to consider the merits of the IAC claims
  individually.
         B. Competing Motions for Summary Judgment with respect to
            Specific IAC Claims
         Industria, now on the offensive, moves for summary judgment granting
  its claims under Articles 7, 8, 17, and 18 of the IAC. (Pl. Mot. p. 44.) In
  essence, Industria seeks (1) cancellation of Latinfood’s Zenú mark under
  Articles 7, 8, 17, and 18 of the IAC; and (2) an injunction preventing Latinfood
  from using the marks and commercial names Zenú and Ranchera under
  Articles 17 and 18 of the IAC. (Id. pp. 44, 47.) Latinfood opposes Industria’s
  motion on the merits and moves for summary judgment dismissing Industria’s
  IAC claims under Articles 7, 8, 12, 16, 17, 18, and 31.
                     Article 7
         I begin with Industria’s claim under Article 7. On this claim, I must deny
  Industria’s motion for summary judgment and grant that of Latinfood. Under
  Article 7, the sole remedy is to claim a preferential right or priority over the
  interfering mark.13 Industria has clearly stated that its IAC claims are not




  13 Article 7 states, in full:


         Any owner of a mark protected in one of the Contracting States in
         accordance with its domestic law, who may know that some other person
         is using or applying to register or deposit an interfering mark in any
         other of the Contracting States, shall have the right to oppose such use,
         registration or deposit and shall have the right to employ all legal means,
         procedure or recourse provided in the country in which such interfering
         mark is being used or where its registration or deposit is being sought,
         and upon proof that the person who is using such mark or applying to
         register or deposit it, had knowledge of the existence and continuous use
         in any of the Contracting States of the mark on which opposition is based
         upon goods of the same class, the opposer may claim for himself the
         preferential right to use such mark in the country where the opposition is
         made or priority to register or deposit it in such country, upon compliance

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  based on a claim of priority rights in the U.S.14 (See Pl. Op. pp. 34–35; Pl. Reply
  p. 23.) Since the sole remedy under Article 7 of the IAC is a claim to priority
  rights, and Industria is not seeking to assert a right to priority in the U.S., I
  must grant Latinfood’s (and deny Industria’s) motion for summary judgment on
  the Article 7 claim.
         There is an alternative basis to deny Industria’s motion and grant
  Latinfood’s motion for summary judgment on the merits of the Article 7 claim.
  Because Latinfood has registered the Zenú mark in the U.S., Industria is
  barred from using Article 7 to gain priority over the Zenú mark for itself. As for
  the Ranchera mark, because Latinfood has no registration of that mark in the
  U.S., the registration bar does not apply. I discuss it for completeness.
         As Latinfood notes, “the IAC does not allow for an assertion of priority
  against a mark registered in the U.S.” (See Def. Mot. p. 33.) Because
  “Latinfood’s Zenú mark is registered under Reg. No. 4402942,” says Latinfood,
  it is entitled to summary judgment on Industria’s claims under Article 7 of the
  IAC. (Id.; see Ingber Decl. Ex. E.)
         Here, Latinfood relies primarily on a persuasive decision of the TTAB,
  Lacteos De Honduras S.A., No. 91243095, 2020 WL 973178 (Feb. 28, 2020). In
  Lacteos, the applicant sought registration of its mark, RICA SULA, but the
  opposer opposed the registration based on priority and likelihood of confusion
  with its own U.S. trademark, SULA. Id. at *1. The applicant filed counterclaims
  under the IAC to cancel the opposer’s U.S. trademark, claiming it had priority
  under Articles 7 and 8. Id. The Board concluded that a party may not seek
  priority under Article 7 if the allegedly interfering mark is already registered in
  the U.S.:


         with the requirements established by the domestic legislation in such
         country and by this Convention.
  IAC, ch. II, art. 7 (emphasis added).
  14    “Industria’s claims under the IAC are not premised on having priority rights in
  the U.S., but on Defendants’ misuse of Industria’s marks to deceive and confuse
  consumers.” (Pl. Op. pp. 34–35; repeated in Pl. Reply p. 23.)


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         Article 7 of the [IAC] only provides a right to assert an affirmative
         defense when the interfering party’s purported rights are based
         solely on use of the interfering mark. In view of the foregoing, we
         hold that the [IAC] does not articulate a right of priority over
         registered marks. . . . Accordingly, because Opposer’s marks are
         registered in the U.S., Applicant cannot assert priority as an
         affirmative defense under Article 7 of the [IAC].

  Id. at *10. Compare Diaz, 2007 WL 549241, at *3, *13 (Feb. 16, 2007) (granting
  summary judgment to applicant on Article 7 claim where opposer did not have
  a registered U.S. trademark and based its opposition only on use in the U.S.).15
         Under Lacteos, because Latinfood has a registered U.S. trademark for
  Zenú, Industria cannot maintain a claim of priority with respect to its Zenú
  mark under Article 7 of the IAC. (See Ingber Decl. Ex. E); Lacteos, 2020 WL
  973178, at *10.16
         On these two alternative bases, I will grant summary judgment in favor
  of Latinfood on the Article 7 claim and deny Industria’s competing motion.
                   Article 8
         Article 8 grants the owner of a mark the “right to apply for and obtain the
  cancellation or annulment of the interfering mark.” IAC, ch. II, art. 8. In order
  to establish a claim under Article 8 of the IAC, a person must show the
  following:
         (a) That he enjoyed legal protection for his mark in another of the
         Contracting States prior to the date of the application for the
         registration or deposit which he seeks to cancel; and

         (b) that the claimant of the interfering mark, the cancellation of
         which is sought, had knowledge of the use, employment,
         registration or deposit in any of the Contracting States of the mark
         for the specific goods to which said interfering mark is applied,


  15   The Board also recognized that priority is not a defense under Article 8. Lacteos,
  2020 WL 973178 at *10.
  16    Latinfood also asserts this registration bar as a defense to Industria’s claims
  under Articles 8, 12, 16, 17, 18, and 31. (Def. Mot p. 33.) I do not find any support for
  applying the Lacteos holding regarding priority under Article 7 to Industria’s other IAC
  claims.


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         prior to adoption and use thereof or prior to the filing of the
         application or deposit of the mark which is sought to be cancelled;

         Or

         (c) that the owner of the mark who seeks cancellation based on a
         prior right to the ownership and use of such mark, has traded or
         trades with or in the country in which cancellation is sought, and
         that goods designated by his mark have circulated and circulate in
         said country from a date prior to the filing of the application for
         registration or deposit for the mark, the cancellation which is
         claimed, or prior to the adoption and use of the same.

  IAC, ch. II, art. 8.

         Industria cannot satisfy subsection 8(c), and therefore must go the
  8(a)/(b) route. Industria argues that it has shown (a) that it enjoyed legal
  protection for the Zenú and Ranchera marks in Colombia prior to the date of
  Latinfood’s application for the registration or deposit which Industria seeks to
  cancel; and (b) that Latinfood had knowledge of Industria’s use of the Zenú and
  Ranchera marks in Colombia for the specific goods to which said interfering
  mark is applied.
         Latinfood argues that it, not Industria, is entitled to summary judgment
  because Industria has “failed to proffer any certificate of registration
  documents either in its pleadings or through discovery demonstrating its
  alleged ownership of any relevant, current Colombian registrations”; “failed to
  prove that [] Latinfood had prior knowledge of Industria’s alleged Colombian
  Registrations”; and “has produced no evidence that its goods under its alleged
  Colombian Zenú and Ranchera Registrations are the same as those set forth in
  Latinfood’s registration.” (Def. Mot. pp. 36–38.)17

  17     Both sides discuss Article 8 in relation to both the Zenú and Ranchera marks.
  As to the Ranchera mark, however, this claim would appear to have no application.
  The sole remedy under Article 8 is the “right to apply for and obtain the cancellation or
  annulment of the interfering mark.” IAC, ch. II, art. 8. Latinfood does not possess a
  registered U.S. Ranchera mark, so there is nothing to cancel or annul. As to the
  Ranchera mark, then, I will grant summary judgment to Latinfood on Industria’s
  Article 8 claim. The remainder of the discussion in this subsection concerns the Zenú
  mark.


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         As to subsection 8(a), Industria submits evidence that it has enjoyed
  legal protection for the Zenú mark prior to the date on which Latinfood applied
  for its use of that mark in the United States. Documents from the
  Superintendency of Industry and Trade of Colombia show that Industria’s Zenú
  trademark has been registered in Colombia since at least May 7, 2001. (See
  Salazar Decl. Ex. M p. 1; Pl. St. ¶ 12.) Latinfood applied for its Zenú trademark
  in the U.S. nearly two years later, on January 25, 2013. (Kadosh Decl. Ex. 4).
  On the basis of these proofs, summary judgment must be awarded to Industria
  on this factual issue, subject to the reservation in the footnote below.18
         As to subsection 8(b), the evidence is overwhelming and one-sided that
  Latinfood had knowledge of Industria’s Zenú mark when it applied for its own
  Zenú mark in the U.S. To begin with, the inference that Latinfood simply
  copied Industria’s product labels (and therefore had knowledge of them) is
  virtually inescapable. The two are practically identical. (See Section IV.C.3.b.i.,
  infra; Ex. A, attached.) As I recognized in my prior opinion, “a side-by-side
  comparison argues against the possibility of coincidence.” (MTD Op. p. 39.) No


  18     Latinfood notes that the copies of Industria’s registration documents are not
  properly authenticated as foreign records. Latinfood does not appear to otherwise
  dispute their authenticity or the fact of registration in Colombia. Specifically, Industria
  has submitted evidence that its Zenú and Ranchera marks are registered and
  protected in Colombia. (See Pl. St. ¶¶ 10–13; Def. Resp. ¶¶ 10–13; Salazar Decl. Exs.
  H–M.) The documents on which Industria relies are reports from the Superintendency
  of Industry and Commerce of Colombia. Latinfood asserts that those documents are
  not sufficient because “Industria has not produced a certified Certificate of Colombian
  Registration.” (See Def. Resp. ¶¶ 10–13.) I will treat Industria’s proffer as a
  representation that such evidence of foreign registration could be produced at trial in
  admissible, authenticated form. See generally Fraternal Order of Police, Lodge 1 v. City
  of Camden, 842 F.3d 231, 238-39 (3d Cir. 2016) (considering hearsay statements
  attributed to declarant who could be called as witness). I therefore will not grant
  Latinfood summary judgment based on this defect. Out of caution, however, I will stay
  my ruling and require that Industria make a sufficient showing of authenticity of these
  documents before granting it judgment on this issue, which is also relevant to other
  claims. See Sections III.B.2 & III.B.4., infra.
         In accordance with the accompanying Order, Industria is granted 30 days from
  the date of this decision to either provide appropriate authentication of its registration
  of the Zenú mark in Colombia or otherwise establish the authenticity of registration.
  Within 14 days thereafter, Latinfood may submit any opposition


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  plausible explanation for this convergence, aside from purposeful copying, has
  emerged in discovery.19
         Indeed, further evidence of copying has emerged. Mr. Zuluaga instructed
  a marketing assistant at Cibao to look at Industria’s website when creating
  Latinfood’s packaging designs. (Pl. St. ¶¶ 46–53; Def. St. ¶¶ 46–53; Def. Supp.
  St. ¶ 20; Pl. Supp. Resp. ¶ 20.) It cannot be a coincidence that those designs
  turned out to almost precisely duplicate those of Industria.20
         Additionally, Latinfood’s 2013 application to register the Zenú trademark
  attached actual photos of Industria’s products as exemplars of Latinfood’s
  proposed mark. (Pl. St. ¶ 33; Def. Resp. ¶ 33; see Kadosh Decl. Ex. 4.) Mr.
  Zuluaga asserts that he sent his own versions for inclusion in the application,
  but USTM inexplicably submitted the application with Industria’s exemplars.
  No explanation is offered. No relevant testimony from USTM is offered. Nor does
  Mr. Zuluaga proffer copies of the exemplars he claims he sent, or even explain
  how they supposedly differed from Industria’s.
         There is more. Mr. Zuluaga then received a request from the USPTO for
  “pictures of the products on the shelf / at the point of sale.” (See Kadosh Op.
  Decl. Ex. 46; see also See Pl. St. ¶ 33; Def. Resp. ¶ 33; Ingber Op. Decl. Exs. 4–
  5.) In response to that request, on May 14, 2013, Mr. Zuluaga emailed USTM
  two additional pictures to use in connection with Zenú application. The images
  attached to that email are clearly of Industria’s products: one of the images
  shows a product label bearing Industria’s website address, www.zenu.com.co;
  the other image includes Industria’s Ranchera trade dress, depicting a family
  around a campfire, a label which Latinfood does not claim to have used. (See
  Kadosh Op. Decl. Ex. 46.) At his deposition, Mr. Zuluaga was confronted with



  19      Attached to this Opinion as Exhibits A and B are examples of Industria’s and
  Latinfood’s labeled Zenú and Ranchera products. The court notes Latinfood’s position
  that it has not used these Ranchera marks “for years pursuant to a Stipulation
  executed by the parties.” (See Def. Resp. ¶ 68.)
  20      Mr. Zuluaga actually brought one of Industria’s Ranchera labels to Ms. Isidor’s
  office. (Pl. St. ¶ 57; Def. Resp. ¶ 57.)


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  the email and images, and testified that he did not send those images to USTM.
  (Kadosh Decl. Ex. 43 Zuluaga Tr. 276:17–278:16.) Latinfood provides a copy of
  this relevant email, but again fails to provide a copy or even a description of the
  “accurate pictures” that Mr. Zuluaga supposedly sent. (See id. Tr. 277:24–
  278:2; Ingber Op. Decl. Ex. 5.) Latinfood simply posits, without elaboration, a
  further mystery: that “USTM unilaterally responded to the [USPTO] with
  incorrect specimens.” (Def. Op. p. 32.)
         This evidence is overwhelming; Mr. Zuluaga’s denials are conclusory and
  factually deficient. His bare, fact-free denials are not sufficient to withstand
  summary judgment. See Scott v. Harris, 550 U.S. 372, 380 (2007) (“When
  opposing parties tell two different stories, one of which is blatantly contradicted
  by the record, so that no reasonable jury could believe it, a court should not
  adopt that version of the facts for purposes of ruling on a motion for summary
  judgment.”); Irving v. Chester Water Auth., 439 F. App’x 125, 127 (3d Cir. 2011)
  (holding that “self-serving deposition testimony is insufficient to raise a genuine
  issue of material fact”).
         And all of the above, moreover, ignores the fact that USTM acted as an
  agent for Latinfood, and Mr. Zuluaga himself signed off on the registration
  application as submitted. See Covington v. Int’l Ass’n of Approved Basketball
  Offs., 710 F.3d 114, 120 (3d Cir. 2013) (“An agency relationship is created
  when one party consents to have another act on its behalf, with the principal
  controlling and directing the acts of the agent.”); Dobkin v. Enter. Fin. Grp., Inc.,
  No. 14-cv-01989, 2014 WL 4354070, at *4 (D.N.J. Sept. 3, 2014) (finding an
  agency relationship was created through an outsourcing arrangement in which
  one defendant had been given the authority to sell the other defendant’s
  products). Latinfood cannot shirk responsibility by simply stating that Mr.
  Zuluaga was unaware of the contents of the application he signed.21



  21     The record also includes emails and deposition testimony stating that Mr.
  Zuluaga intentionally copied Zenú’s packaging for his own products. (See Kadosh
  Decl. Exs. 13, 37.)


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          Therefore, as to knowledge of the mark, there is no triable issue for
  Latinfood.
          As Latinfood correctly points out, Section 8(b) requires that the opposer
  have knowledge, not just of the mark itself, but of its use for the “specific
  goods” to which the opposer’s interfering mark is applied. Lacteos, 2020 WL
  973178, at *8. The TTAB has interpreted “specific goods” to mean “the same
  goods.” Id. I find that this “same goods” requirement, too, is met.
          True, in Lacteos, the applicant had a registered mark in a foreign country
  for “plantain chips, tortilla chips, potato chips, cheese curls, and/or cheese
  balls” and the opposer had applied to register for “spreads, namely, vegetable
  oil and dairy cream based blends.” Id. at *7–*8. The TTAB compared those
  products and concluded that they were not the “same goods” under subsection
  8(b).
          This case, however, is not comparable to Lacteos. Here, Industria
  provides evidence that it has a registered Colombian trademark for Zenú for
  Class 29 goods, described as “meat, fish, poultry and game; meat extracts;
  preserved, dried and cooked fruits and vegetables; jellies, jams, compotes; eggs,
  milk and milk products; edible oils and fats”; and a registered trademark for
  Ranchera for Class 29 goods, described as “meat, fish, poultry and game meat;
  meat extracts; preserved, frozen, dried and cooked fruits and vegetables; jellies,
  jams, compotes; eggs, milk and milk products; edible oils and fats.” (See Pl. St.
  ¶¶ 12–13; Def. St. ¶¶ 12–13; Salazar Decl. Exs. K, M pp. 1, 19.) Latinfood’s
  registration is likewise for Class 29 goods, described as “bologna; canned
  cooked meat; canned fish; chorizo; hot dogs; preserved meats and sausages;
  processed meat; sausages; tuna fish.” (Ingber Decl. Ex. E.)
          Latinfood’s argument appears to be that the two lists do not precisely
  correspond, item-for-item. That is too narrow of a reading of Lacteos. In
  Lacteos, the products were entirely separate: chips vs. dips. Here, the lists of
  Industria’s and Latinfood’s products track very substantially. Latinfood’s
  registration covers various meat and fish products, which would fall within the



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  plain meaning of “meat, fish, poultry and game” covered by Industria’s
  registration. I find that the “same goods” requirement is met as a matter of law.
         All of the requirements of Article 8 are therefore fulfilled here. Industria’s
  evidence is highly persuasive, and Latinfood’s opposing evidence and legal
  arguments do not suffice to raise a triable issue of fact. Accordingly, Industria’s
  motion for summary judgment on its Article 8 claim is granted as to the Zenú
  mark, and Latinfood’s corresponding motion is denied.
         One reservation: I will, however, temporarily stay the effect of my order
  here for the reasons expressed above. See p. 23 n.18, supra.
                     Article 17
         To prove a claim under Article 17 of the IAC, Industria must show that
  (1) it is a “manufacturer, industrialist, merchant or agriculturalist domiciled or
  established in any of the Contracting States”; (2) it has acted in accordance
  with U.S. law and legal procedure; (3) Latinfood’s interfering products are of the
  “same class” as those sold under Industria’s commercial name; (4) Industria’s
  commercial name was “legally adopted and previously in use”; and (5) Industria
  believes that Latinfood’s interfering mark “may lead to error or confusion in the
  mind of the consumer” with respect to Industria’s commercial name. IAC, ch.
  III, art. 17.22
         The first factor is satisfied because there is no genuine dispute that
  Industria “is a Colombian company that produces and distributes food
  products, which has been in operation for [o]ver 60 years.” (Pl. St. ¶ 1; Def.


  22     Article 17 states, in full:
         Any manufacturer, industrialist, merchant or agriculturist domiciled or
         established in any of the Contracting States, may, in accordance with the
         law and the legal procedure of such countries, oppose the adoption, use,
         registration or deposit of a trade mark for products or merchandise of the
         same class as those sold under his commercial name, when he believes
         that such trade mark or the inclusion in it of the trade or commercial
         name or a simulation thereof may lead to error or confusion in the mind
         of the consumer with respect to such commercial name legally adopted
         and previously in use.
  IAC, ch. III, art. 17.


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  Resp. ¶ 1.) The second factor is satisfied because Industria filed an application
  for U.S. registration of its Zenú and Ranchera marks under Section 44(e) of the
  Lanham Act.23 (Pl. St. ¶¶ 116–117; Def. Resp. ¶¶ 116–117; Def. St. ¶¶ 21–22;
  Pl. Resp. ¶¶ 21–22; Kadosh Decl. Ex. 28.) As to the third factor, as previously
  discussed, Latinfood’s Zenú and Ranchera products include various meat and
  fish products, which would fall within the plain meaning of the term “meat,
  fish, poultry and game” covered under Industria’s registrations. (See Ingber
  Decl. Ex. E; Salazar Decl. Exs. K, M.) Therefore, there is no genuine dispute
  that Latinfood’s and Industria’s products are in the “same class.”
         As to the fourth factor, “Zenú-marked goods have been sold in Colombia
  ‘for more than 60 years’” and “Ranchera-marked goods have been sold in
  Colombia for ‘over 30 years.’” (Pl. St. ¶¶ 3, 6; Def. Resp. ¶¶ 3, 6.) Latinfood
  asserts that it has used the Zenú name in commerce since 2011. (Def. St.
  ¶ 16.) Even accepting that date as accurate (Industria disputes it), the dispute
  is not consequential, because Industria used the Zenú name in commerce prior
  to 2011.24 (See Pl. St. ¶¶ 3, 6; Def. Resp. ¶¶ 3, 6.)
         As to the fourth factor, there is a dispute regarding the proper
  authentication of Industria’s Colombian registration documents. I have already


  23     Industria filed its 44(e) application for the Ranchera mark in November 2016.
  Industria’s 44(e) application for the Zenú mark, filed in November 2014, was
  suspended on the basis that a “civil proceeding [in connection with Industria’s Petition
  for Cancellation] pertains to an issue that could directly affect whether applicant’s
  mark can be registered.” (Pl. St. ¶¶ 116–17; Def. Resp. ¶¶ 116–17; Def. St. ¶ 21; Pl.
  Resp. ¶ 21.) Industria’s Ranchera application and petition for cancellation of
  Latinfood’s Zenú mark were both stayed pending disposition of this case. (Pl. St. ¶
  116; Def. Resp. ¶ 116; Def. St. ¶ 22; Pl. Resp. ¶ 22.)
          Additionally, I note that another U.S. company (unrelated to this action) filed an
  opposition to Industria’s application to register its Ranchera mark, asserting a
  likelihood of confusion with respect to its U.S.-registered “Ranchero” mark. (Def. St.
  ¶ 22; Pl. Resp. ¶ 22.) That matter has also been stayed pending disposition of this
  case. (Id.) That dispute does not affect my analysis because, at this time, Industria’s
  application to register its Ranchera mark has not been denied.
  24     As discussed in Section IV.E.2., infra, there is actually no evidence in the record
  that Latinfood used the Zenú mark in commerce in 2011. I assume it here, but only
  for purposes of argument.


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  granted Industria the opportunity to remedy that defect if it can. See p. 23
  n.18, supra; p. 27, supra.
           There is also, however, an open issue of fact regarding the fifth factor:
  whether Industria has shown that Latinfood’s marks “may lead to error or
  confusion in the mind of the consumer” with respect to Industria’s commercial
  name. As to that issue, the evidence points both ways and must be resolved by
  the finder of fact. See discussion of likelihood of confusion, Section IV.C.3.b.,
  infra.
           I will therefore deny both sides’ motions for summary judgment on the
  Article 17 claim.
                    Article 18
           Article 18 grants the right to “apply for and obtain an injunction against
  the use of any commercial name or the cancellation of the registration or
  deposit of any trade mark.” IAC, ch. III, art. 18. To prove a claim under Article
  18 of the IAC, Industria must show that: (1) it is a “manufacturer, industrialist,
  merchant or agriculturalist domiciled or established in any of the Contracting
  States”; (2) it has acted in accordance with U.S. law and procedure;
  (3) Latinfood’s interfering name or trademark is “identical with or deceptively
  similar to” Industria’s commercial name “already legally adopted and previously
  used in [Colombia] in the manufacture, sale or production of articles of the
  same class”; and (4) prior to Latinfood’s use or adoption of the name or mark,
  Industria used and continues to use the “commercial name adopted and
  previously used” for the “same products” in Colombia. IAC, ch. III, art. 18.
           As discussed above, there is no genuine dispute that Industria is a
  “manufacturer, industrialist, merchant or agriculturalist domiciled or
  established in any of the Contracting States”; that it has acted in accordance
  with U.S. law and procedure; that it previously used, and continues to use, the
  Zenú and Ranchera marks in Colombia for the “same products”; or that
  Latinfood’s Zenú and Ranchera names are identical to Industria’s Zenú and
  Ranchera names.



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         Once again, I note the facially adequate records of the registration of the
  Zenú and Ranchera marks in Colombia, note Latinfood’s objection to the
  authentication of such records, and stay my ruling pending proper
  authentication. See p. 23 n.18, supra; p. 27, supra.
         On the Article 18 claim, then, Latinfood’s summary judgment motion is
  denied, and Industria’s motion is conditionally granted.
                                          *    *   *
         The result of the foregoing analysis, then, is that Latinfood’s Zenú mark
  is canceled based on Industria’s treaty rights under Articles 8 and 18 of the
  IAC, and Latinfood is enjoined from using the Zenú and Ranchera marks based
  on Industria’s treaty rights under Article 18. Both rulings, however, are stayed,
  conditional upon a showing of proper authentication of the Colombian records
  within 30 days. I next consider Industria’s claims under U.S. domestic law.
         DISCUSSION: LANHAM ACT AND RELATED CLAIMS
         A. Statutory Standing under the Lanham Act
         There is an issue common to all of the Lanham Act claims, as well as the
  parallel claims of unfair competition under the New Jersey Fair Trade Act,
  which the parties refer to as “statutory standing,” although it is probably better
  viewed as a merits issue.25


  25       The use of the term “statutory standing” to describe the inquiry under the
  Lexmark test is not entirely accurate. Instead, the inquiry concerns whether a party
  “has a cause of action under the statute,” a non-jurisdictional merits issue that
  requires application of “traditional principles of statutory interpretation.” Lexmark
  Int’l, Inc. v. Static Control Components, Inc., 134 S. Ct. 1377, 1387–88 (2014); see
  Marathon Petroleum Corp. v. Sec’y of Fin. for Delaware, 876 F.3d 481, 493 n.13 (3d Cir.
  2017). The Third Circuit has elaborated thus:
         Lexmark clarified that . . . the zone-of-interests analysis is not a
         constitutional or prudential standing inquiry meant to ensure federal
         court jurisdiction but rather is a statutory question to be addressed on
         the merits. See [134 S. Ct.] at 1387 n.4 (indicating that “statutory
         standing” and “prudential standing” are not proper descriptions of the
         zone-of-interests analysis because “the absence of a valid (as opposed to
         arguable) cause of action does not implicate subject-matter jurisdiction,
         i.e., the court’s statutory or constitutional power to adjudicate the case’”

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         Counts 1 through 4, which arise under Section 43 of the Lanham Act of
  1946 (codified at 15 U.S.C. § 1125), allege (1) false association; (2) false
  advertising; and (3) trade dress infringement. Count 11, under Section 14 of
  the Lanham Act (codified at 15 U.S.C. § 1064), alleges source
  misrepresentation. Both parties move for summary judgment on these claims.
  “The elements of unfair competition under the New Jersey Fair Trade Act, N.J.
  Stat. Ann. § 56:4, are the same as those under Section 43(a) of the Lanham
  Act, saving the jurisdictional interstate commerce element.” Endo Pharm., Inc.
  v. Actavis, Inc., No. 12-CV-7591 (KM), 2016 WL 1090356, at *5 (D.N.J. Mar. 21,
  2016) (citing SK & F Co. v. Premo Pharm. Laboratories, Inc., 625 F.2d 1055,
  1066 (3d Cir. 1980)). Accordingly, my ruling as to the Lanham Act claims
  equally applies to the claims of unfair competition under the New Jersey Fair
  Trade Act.
         Latinfood asserts that Industria as plaintiff does not possess a statutory
  cause of action under the Lanham Act, and that therefore summary judgment
  must be granted in its favor on Counts 1 through 4 and 11. Latinfood
  previously moved to dismiss those claims under Rule 12(b)(6) for the same
  reason. I denied that motion to dismiss, concluding that Industria’s allegations
  of statutory standing were sufficient. (MTD Op. pp. 25–26, 29, 32.) Latinfood
  now seeks to revisit this issue with the benefit of factual development.
  Industria responds that, on a summary judgment standard, the record
  establishes it has a cause of action under the Lanham Act. (Pl. Mot. pp. 34–37.)


         (emphasis in original)); see also Maher Terminals, LLC v. Port Auth. of N.Y.
         & N.J., 805 F.3d 98, 105 (3d Cir. 2015) (noting that “[t]he Court clarified
         [in Lexmark] that the zone-of-interests requirement goes to whether a
         particular plaintiff has a cause of action under a given law, not a
         plaintiff’s standing” and “Lexmark strongly suggests that courts
         shouldn’t link the zone-of-interests test to the doctrine of standing”).
  Id. Although “statutory standing” is not a precise fit, it is the terminology used
  by the parties in their briefing, and for convenience I adopt it for purposes of
  this discussion. For present purposes, little turns on the distinction.




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         The purpose of the Lanham Act is to “protect persons engaged in such
  commerce against unfair competition.”15 U.S.C. § 1127; see also POM
  Wonderful LLC v. Coca-Cola Co., 134 S. Ct. 2228, 2234 (2014). In Lexmark
  International, Inc. v. Static Control Components, the Supreme Court set forth a
  two-prong test to determine whether a plaintiff has a statutory cause of action
  to sue under Section 43(a) of the Lanham Act. The critical inquiry is whether
  the plaintiff “falls within the class of plaintiffs whom Congress has authorized
  to sue under § [43(a)].” 134 S. Ct. 1377, 1388 (2014).
         Specifically, Lexmark held that “to come within the zone of interests in a
  suit for false advertising under § [43(a) of the Lanham Act], a plaintiff must
  allege an injury to a commercial interest in reputation or sales.” Id. at 1390.
  The “zone of interest” test is not especially demanding, and the benefit of the
  doubt goes to the one alleging the cause of action. Id. at 1389. The Court
  further explained that, under proximate causation principles, “a plaintiff suing
  under [the Lanham Act] must [also] show economic or reputational injury
  flowing directly from the deception wrought by the defendant’s advertising; and
  that that occurs when deception of consumers causes them to withhold trade
  from the plaintiff.” Id. at 1391.
                  Use of the Mark in the United States
         Before applying the two-part Lexmark test to this action, I must address
  Latinfood’s argument that Industria’s cause of action lacks a necessary
  prerequisite because Industria has not used its foreign trademark in U.S.
  commerce.26 I earlier addressed this argument at the motion to dismiss stage,
  and concluded that use of the mark in the U.S. was not a prerequisite to
  bringing Lanham Act claims:


  26      Latinfood also asserts that Industria cannot succeed on its trademark
  infringement claims because Industria abandoned its U.S. trademark for Zenú and
  has no valid trademark rights in the U.S. (Def. Mot. pp. 13–15.) However, “the plain
  language of § 43(a) does not require that a plaintiff possess or have used a trademark
  in U.S. commerce as an element of the cause of action. Section 43(a) thus stands in
  sharp contrast to Lanham Act § 32, which is titled as and expressly addresses
  ‘infringement.’” Belmora LLC v. Bayer Consumer Care AG, 819 F.3d 697, 706 (2016).


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         At this preliminary stage, however, I cannot find that the false
         advertising and false association claims are ruled out as a matter
         of law because plaintiff has not pled use of the Zenú and Ranchera
         marks in the United States.

  (MTD Op. pp. 25–26.) In that opinion, I noted that the Third Circuit had not
  addressed the issue, but found the Fourth Circuit’s analysis “persuasive, at
  least for purposes of a motion to dismiss.” (Id. p. 25.)
         The parties dispute whether that prior holding is “law of the case.” (See
  Pl. Op. pp. 3–4; Def. Reply pp. 3–4.) The case law was concededly thin six years
  ago, when I rendered that opinion under a motion to dismiss standard. I will
  therefore reexamine the matter, taking into consideration any relevant cases
  decided in the interim.
         Today, the Third Circuit still has not addressed the question of whether a
  foreign trademark holder who has never used the trademark in U.S. commerce
  is a person entitled to maintain a cause of action under the Lanham Act. One
  case answering that question in the affirmative, Belmora LLC v. Bayer
  Consumer Care AG, 819 F.3d 697 (4th Cir. 2016), which I cited in my earlier
  opinion, remains good law. The out-of-circuit case law remains scant.
         What is new is a decision by the Federal Circuit in Meenaxi Enterprise,
  Inc. v. Coca-Cola Company, 38 F.4th 1067 (Fed. Cir. 2022). In Meenaxi, Coca-
  Cola owned foreign marks for Thums Up cola and Limca lemon-lime soda, and
  distributed those products in foreign markets such as India. Id. at 1069.
  Meenaxi, however, was the first to register marks for Thums Up and Limca in
  the U.S., and was the first to distribute those products in the U.S. Id. at 1070.
  Meenaxi’s U.S. logos and slogan were nearly identical to those used by Coca-
  Cola abroad. Coca-Cola sought to cancel Meenaxi’s U.S. registration under
  Section 14(3) of the Lanham Act, asserting that Meenaxi had misrepresented




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  the source of its goods. Id. at 1069. The Trademark Trial and Appeals Board
  (“TTAB”) found in Coca-Cola’s favor, and Meenaxi appealed. Id.27
         The Federal Circuit focused on whether, under Lexmark, Coca-Cola as
  plaintiff possessed a statutory cause of action to challenge Meenaxi’s
  trademark registrations. Meenaxi argued that Coca-Cola’s claim was barred by
  the territoriality principle, which recognizes that a trademark has a “separate
  existence in each sovereign territory in which it is registered or legally
  recognized as a mark.” Id. at 1073. As that court perceived, however, Coca-Cola
  did not claim any U.S. trademark rights in Thums Up or Limca; rather, Coca-
  Cola’s claim was based on injury allegedly occurring in the U.S. Id. at 1074–75.
  Accordingly, the Federal Circuit moved on to the Lexmark test and looked to
  whether Coca-Cola alleged an injury to sales or reputation.
         As for injury to sales, Coca-Cola failed to identify any lost sales in the
  United States. Although Coca-Cola presented statements regarding “future
  plans” to market Thums Up and Limca in the United States, the Federal Circuit
  held that “nebulous future plans for U.S. sales cannot be the basis for a
  Lanham Act claim.” Id. at 1076. The Federal Circuit cited case law requiring at
  least “concrete plans for future activity” to support a claim of sales harm. Id.
         As for reputational harm, Coca-Cola proffered two considerations:
  “(1) members of the Indian-American community in the United States were
  aware of the THUMS UP and LIMCA marks and (2) Meenaxi traded on Coca-
  Cola’s goodwill with Indian-American consumers in those marks by misleading
  them into thinking that Meenaxi’s beverages were the same as those sold by
  Coca-Cola in India.” Id. at 1076–77. The Federal Circuit disagreed, finding that
  Coca-Cola had not produced substantial evidence that the Indian-American
  community was aware of the marks. Id. at 1077. The TTAB’s findings, the
  Court noted, had related to Coca-Cola’s reputation in India, not in the U.S. Id.



  27     Although Meenaxi involved only Section 14(3) of the Lanham Act, the language
  of Section 14(3) is very similar to that of 43(a), and the two statutes have the same
  requirements as to injury. Id. at 1072–73.


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  at 1077–78. Additionally, the Federal Circuit recognized that the mere copying
  of a foreign mark does not in itself establish reputation in the U.S. Id. at 1078.
         In sum, because Coca-Cola failed to establish lost sales or an injury to
  its reputation, it could not satisfy the Lexmark test. Id. at 1079.
         The intervening authority of Meenaxi, while suggestive, does not alter this
  Court’s prior analysis. As before, Latinfood argues that use of the mark in the
  United States is a prerequisite to Lanham Act statutory standing. As before, the
  Court finds that there is no such rigid prerequisite. Indeed, Meenaxi itself
  suggests that there are multiple alternative bases, although those bases were
  not established factually in that case. As before, then, I reject Latinfood’s
  contention that Industria lacks a statutory cause of action under the Lanham
  Act simply by virtue of the fact that it did not exploit its Zenú and Ranchera
  marks in the United States.28 What is required is satisfaction of the Lexmark
  test of injury, to which I turn.
                   Lexmark test of injury
         Moving to the Lexmark test of injury, I find two genuine, disputed issues
  of material fact: (1) whether Industria had concrete plans to enter the United
  States market; and (2) whether Industria’s commercial injury was proximately
  caused by Latinfood’s actions.
         Industria claims that it has suffered commercial harm because it had
  moved forward with sufficiently concrete plans to bring “Zenú branded
  products into the United States in 2014.” (Pl. Mot. p. 13.) Hernando Ramos
  Moreno, Industria’s director of sales, testified at his deposition that he met with
  Luis Arango, Cordialsa’s managing director, in March 2014 to discuss
  “expand[ing] Cordialsa’s sales with the Industria portfolio in the United States.”
  (Kadosh Decl. Ex. 45 Ramos Tr. 38:5-17.) From March to June 2014,
  Industria’s representatives exchanged emails on the topic of importing Zenú


  28     Latinfood also argues that Industria cannot rely on the “famous” or “well-
  known” marks doctrine to oppose Latinfood’s U.S. trademark. (Def. Mot. p. 12.)
  Industria responds that it is not claiming protection under the well-known marks
  doctrine. (Pl. Op. pp. 15 n. 5, 18 n. 9.) Therefore, I do not address this argument.


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  products to the U.S. (See Pl. St. ¶¶ 91–104; Def. Resp. ¶¶ 91–104; Salazar Decl.
  Ex. CC.) Among those emails were communications with ProExport, a
  “Colombian government entity [which] promote[s] the export [of goods] from
  Colombia” and communications discussing sending samples of Industria’s
  beans to the U.S. Food and Drug Administration (“FDA”) and validating its use
  of the Zenú trademark in the U.S. (See Pl. St. ¶¶ 103, 106; Def. Resp. ¶¶ 103,
  106; Salazar Decl. Exs. CC, GG.)
         To be sure, there is evidence pointing the other way. For example, in May
  2014, Mr. Arango emailed ProExport stating: “I would like to see if proexport
  could give us some advice with some products that I have always wanted to
  import, but have heard could not be brought to the USA because of US
  government restrictions. Specifically, they are some Zenú products. Do you
  think we could go over this with proexport to see if this kind of product can be
  brought to the US and what the restrictions or duties would be under the
  [FDA]?” (Salazar Decl. Ex. MM.) In June 2014, Industria’s head of marketing
  emailed Mr. Ramos stating: “Regarding the possibility of exporting frozen
  products, this has not yet been explored due to the current logistical barriers
  and the fact that we still have a great deal of work to do to penetrate the local
  market[.]” (Salazar Decl. Ex. DD.) As late as February 2022, in response to a
  consumer’s inquiry regarding importing Industria’s Zenú products to the U.S.,
  Industria’s advertising agency manager responded that the company was
  unable to import certain foods because of government restrictions. (Salazar
  Decl. Ex. UU.)
         Industria’s evidence, then, is far from ironclad, but there is enough here
  to raise a factual issue as to whether Industria had sufficiently concrete plans
  to enter the U.S. market in 2014.29 Neither side’s motion for summary
  judgment can be granted on this issue.


  29      I note that, as to reputational injury, which is an alternative basis for satisfying
  the first prong of the Lexmark test, Industria’s evidence is insufficient. Industria
  makes the conclusory assertion that Latinfood has exerted control over the reputation
  of Industria’s products and has cost Industria the ability to control its reputation in

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         As to the second prong of the Lexmark test, Industria must show that its
  injury, construed narrowly as its inability to enter the U.S. market, was
  proximately caused by Latinfood. Generally, the determination of proximate
  causation is “left to the jury for its factual determination.” Thabault v. Chait,
  541 F.3d 512, 523 (3d Cir. 2008); see also Jakelsky v. Friehling, 33 F. Supp. 2d
  359, 365 (D.N.J. 1999); Cruz–Mendez v. ISU/Ins. Servs. of San Francisco, 722
  A.2d 515, 525 (N.J. 1999)). In many cases, a jury must resolve “a factual
  dispute as to the events and circumstances which caused injuries.” Melone v.
  Jersey Cent. Power & Light Co., 113 A.2d 13, 20 (N.J. 1955)). The issue of
  proximate cause can be addressed, as a matter of law, “only where the outcome
  is clear or when highly extraordinary events or conduct takes place.” Thabault,
  541 F.3d at 524.
         Industria asserts that its plans to enter the U.S. market in 2014 “came to
  a halt when it discovered that Latinfood was impermissibly expropriating its
  marks and trade dress” because “[e]ntering the U.S. market now while the
  rights to its marks are still undetermined would not only subject Industria to
  potential infringement litigation by Latinfood, but additionally, Industria would
  enter into a marketplace competing against its own brand names, only adding
  to consumer confusion, while defendants would continue to exert control over
  the reputation of Industria’s products.” (Pl. Mot. pp. 35–36.) This evidence may
  suggest a plausible causal connection, but there is also evidence that Industria
  could not enter the U.S. market because of certain government restrictions on
  the importation of food. (See supra, discussing Salazar Decl. Exs. DD, MM,
  UU.) Therefore, I conclude that there is a genuine dispute of material fact
  regarding proximate causation.




  the U.S. (See Pl. Mot. p. 36.) However, Industria has not provided any evidence
  describing its U.S. reputation or even shown that it has any particular reputation in
  the U.S. to be harmed.



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         The issues of material fact concerning injury and proximate causation
  bar an award of summary judgment to either party regarding Industria’s
  statutory standing (as we have used that terminology) under Lexmark.
         These so-called standing issues, common to the Lanham Act claims, may
  tend to blend with other merits issues when they are submitted to the finder of
  fact. See Marathon Petroleum Corp., 876 F.3d at 493 n.13. I therefore move on
  from the common issues, and consider the claims individually on a summary
  judgment standard.
         B. False Advertising
         Both sides move for summary judgment on Industria’s claim of false
  advertising.
         “To establish a false advertising claim under the Lanham Act, a plaintiff
  must prove: 1) that the defendant has made false or misleading statements as
  to his own product [or another’s]; 2) that there is actual deception or at least a
  tendency to deceive a substantial portion of the intended audience; 3) that the
  deception is material in that it is likely to influence purchasing decisions;
  4) that the advertised goods traveled in interstate commerce; and 5) that there
  is a likelihood of injury to the plaintiff in terms of declining sales, loss of good
  will, etc.” Pernod Ricard USA, LLC v. Bacardi U.S.A., Inc., 653 F.3d 241, 248 (3d
  Cir. 2011) (quoting Warner–Lambert v. Breathasure, 204 F.3d 87, 91–92 (3d
  Cir. 2000)).
         Latinfood argues that it is entitled to summary judgment on Industria’s
  false advertising claim because Industria must, but cannot, show that the
  “public was actually deceived in order to recover damages under [Section] 43(a)
  of the Lanham Act.” (Def. Mot. p. 18 (quoting Seale v. Gramercy Pictures, 964 F.
  Supp. 918 (E.D. Pa. 1997).) Additionally, according to Latinfood, Industria fails
  to provide any evidence that Latinfood’s false labeling caused it harm in the
  U.S., and Industria’s lack of advertising in the U.S. precludes “the necessary
  mental association between the mark and the product” in the mind of the U.S.




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  consumer (Id. p. 20.) As a result, Latinfood asserts, Industria has not suffered
  actual damages. (Id. p. 21.)30
         Industria responds to Latinfood’s arguments and moves for summary
  judgment on its own behalf. Industria asserts that actual deception can be
  presumed because Latinfood made the following literally false statements: (1)
  Latinfood was the exclusive distributor of Industria’s Zenú products in the
  U.S.; (2) Latinfood’s Zenú products came from Colombia; and (3) Latinfood’s
  website declared, “We have products from” with Industria’s Zenú logo, among
  others, underneath. (Pl. Op. p. 25.) Industria also argues that it has provided
  evidence that customers were deceived, relying on communications with Gloria
  Moreno (a distributor who worked with Latinfood) and a conversation on
  Twitter between an alleged customer and Paola Vasquez, Industria’s advertising
  agency manager, discussed below. (Pl. Op. p. 25; see Salazar Decl. Exs. SS,
  UU.) Additionally, Industria asserts that it has shown a likelihood of injury
  because Latinfood’s statements caused Industria a loss of goodwill. (Pl. Op. pp.
  26–27.)
         “To evaluate a claim of false advertising under Section 43(a) of the
  Lanham Act, the Court must determine which of the accused party’s
  statements are actionable.” Newborn Bros. Co. v. Albion Eng’g Co., 481 F. Supp.
  3d 312, 344 (D.N.J. 2020). Industria identifies three statements as literally
  false. First, on September 26, 2014, the U.S. Small Business Administration
  (“SBA”) published an article stating that Zuluaga “convinced a major product
  manufacturer in Colombia to sign an exclusive distribution and importing
  rights agreement for the tri-state area.” (See Kadosh Decl. Ex. 25; Pl. St. ¶ 82;
  Def. Resp. ¶ 82.) Second, Mr. Zuluaga told a supermarket sales associate that
  he had Colombian products. (See Kadosh Decl. Ex. 42 Perez Tr. 19:12–14; Pl.
  St. ¶ 77; Def. Resp. ¶ 77.) Third, on October 4, 2016, Latinfood’s website stated



  30    Latinfood’s other reasons for dismissal of the false advertising claim repeat its
  arguments related to Industria’s “statutory standing” under Lexmark, discussed
  above. (See Def. Mot. pp. 17–23.) I do not repeat that discussion here.


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  in substance that it offered Industria’s Zenú products. (See Kadosh Decl. Ex.
  22, Ex. 43 Zuluaga Tr. 182:14–183:25.)
           As to the first and second statements, Industria fails to show literal
  falsity. Industria speculates that the September 2014 SBA article must have
  been based on an email Zuluaga sent in August 2014 to a prospective IT
  consultant stating that he had “the contract for the exclusive distribution of
  ZENÚ in the US.” (See Kadosh Decl. Ex. 26; Pl. St. ¶ 83; Def. Resp. ¶ 83.)
  However, no evidentiary connection is drawn between the email and the
  September 2014 article. And as to the statement to the supermarket sales
  associate, Industria offers no more than an assumption that Zuluaga’s
  reference to Colombian products meant Industria’s products. For his own part,
  the sales associate testified that Mr. Zuluaga did not mention the names of the
  Colombian products and that he did not know where Mr. Zuluaga’s products
  were made. (Kadosh Decl. Ex. 42 Perez Tr. 19:12–25, 28:24–29:23.) In both
  instances, the connection to Industria is too tenuous to meet the high standard
  of literal falsity.
           The third statement, however, would meet the test of literal falsity,
  because Latinfood did not at any time distribute Industria’s Zenú products.
  Indeed, Latinfood elsewhere insists that Industria’s Zenú products have never
  been sold in the U.S. at all, by anyone. (Def. St. ¶5; Pl. Resp. ¶ 5.) As to this
  statement, then, Industria can satisfy the first element of a false advertising
  claim.
           “As to the second element, actual deception or a tendency to deceive is
  presumed if a plaintiff proves that an advertisement is unambiguous and
  literally false.” Pernod, 653 F.3d at 248 (citing Novartis, 290 F.3d at 586). “[T]he
  statement at issue in a false advertising claim must misrepresent[] the nature,
  characteristics, qualities, or geographic origin of a product.” Parks LLC v. Tyson
  Foods, Inc., 863 F.3d 220, 226 (3d Cir. 2017). “If the message conveyed by an
  advertisement is literally true or ambiguous, however, the plaintiff must prove
  actual deception or a tendency to deceive, and it may do so with a properly



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  conducted consumer survey.” Pernod, 653 F.3d 241 (citing Novartis, 290 F.3d
  at 588–90).
         Industria asserts that Latinfood actually deceived consumers, offering
  the following corroborating evidence. First, one of Latinfood’s distributors,
  Gloria Moreno, believed that Latinfood’s products were associated with
  Industria’s products. (Salazar Decl. Ex. SS.) Second, on February 5, 2022, a
  Twitter user sent a message to Industria’s Twitter account with a picture of
  Latinfood’s Zenú and Ranchera products and asked whether Industria had “a
  sales franchise for beer sausage and ranchera sausage that they are selling in
  New York and New Jersey and Florida, as so-called Colombian sausages.”
  (Salazar Decl. Ex. UU.) Paola Vasquez, Industria’s advertising agency manager,
  responded that the products are not Industria’s, to which the alleged customer
  replied “So why are they using your brand? This makes Colombians abroad get
  tricked.” (Id.) Third, a supermarket sales associate testified at deposition that
  Latinfood’s products were sold in a store aisle with other Hispanic or Latin-
  sourced products, rather than in an aisle with products made in the U.S.
  (Kadosh Decl. Ex. 42 Perez Tr. 28:24–29:23.) Fourth, a supermarket store
  manager testified that Mr. Zuluaga had a reputation for selling Colombian
  products and that Mr. Zuluaga told him that Zenú was a brand known in
  Colombia. (Kadosh Decl. Ex. Rodriguez 38 Tr. 31:10–25, 29:23–30:2.) Fifth,
  Latinfood’s packaging resembles and implies an affiliation with Industria. The
  packaging also includes the line “Linea De Exportacion,” which translates to
  “exportation line.” (Pl. Mot. p. 32; see also Pl. St. ¶ 73; Def. Resp. ¶ 73.)
         According to Industria, those instances “strongly implied to [Latinfood’s]
  customers that their products came from Colombia or were otherwise
  associated [with] the Colombian Zenú brand.” (Pl. Mot. p. 32.) That argument,
  whatever its merits, falls on the wrong side of the line between a false
  association claim and a false advertising claim. On these facts, any mistaken
  belief that Latinfood’s products were Industria’s products depends on evidence
  of a false association between the brands, which is distinct from a false
  advertising claim. See Parks LLC, 863 F.3d at 227 (finding that the false

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  advertisement claim was a false association claim in disguise when it depended
  on the purported false association between the two brands).31
         An arguable exception is the use of “exportation line.” One country’s
  exportation, however, is another’s importation, and the meaning is unclear.
  Industria has not provided any evidence to support its interpretation of
  “exportation line” and the parties dispute the meaning of the phrase. (See Def.
  Supp. St. ¶ 23; Pl. Supp. Resp. ¶ 23.) The phrase also does not explicitly refer
  to Colombia (or any other country); the only country mentioned on the labels is
  the United States. (See Salazar Decl. Exs. X, Y.) “Exportation” does not indicate
  whether the exportation is to or from the United States. Therefore, Industria
  has failed to show that Latinfood’s use of “exportation line” actually deceived or
  had a tendency to deceive consumers into believing it was a Colombian
  product.
         There being no sufficient showing of deception, proof of the third,
  materiality element fails as well. The parties devote little if any attention to the
  fourth, interstate commerce element.
         I move to the fifth, “injury” element. Section 34 of the Lanham Act
  authorizes courts to grant injunctive relief. 15 U.S.C. § 1116 (“[C]ourts . . .
  shall have power to grant injunctions, according to the principles of equity[.]”).
  To obtain an injunction, a plaintiff must demonstrate that “that there is a
  likelihood of injury to the plaintiff in terms of declining sales, loss of good will,
  etc.” BreathAsure, 204 F.3d at 91–92. This demonstration must be “something
  more than a mere subjective belief that [the plaintiff] is . . . likely to be
  damaged.” Id. at 93 (quotations omitted). A plaintiff must also prove that there
  is “a reasonable basis for the belief that the plaintiff is likely to be damaged as
  a result of the false advertising.” Id. at 95 (quoting Johnson & Johnson v.
  Carter-Wallace, Inc., 631 F.2d 186, 189–90 (2d Cir. 1980)).
         Industria asserts a likelihood of injury because “Latinfood’s false and
  misleading statements led unsuspecting customers to purchase Latinfood’s

  31     False association is discussed at Section IV.D., infra.


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  products on the belief that they were affiliated with Industria’s brands.” (Pl. Op.
  p. 26.) Here again, Industria conflates its false advertising claim with its false
  association claim. See Parks LLC, 863 F.3d at 227. For the reasons discussed
  above, at best only one of Latinfood’s statements is actionable, based on
  Latinfood’s use of Industria’s logo on its website in 2016.
         Industria fails to show that there is a reasonable basis for the belief it is
  likely to be damaged as a result of Latinfood’s false advertising. See
  BreathAsure, 204 F.3d at 95. The only evidence in the record of Latinfood’s use
  of Industria’s mark on its website is from over six years ago. Nothing in the
  record supports that the logo is still being used or for how long it was used. Mr.
  Zuluaga’s testimony suggests that the logo was taken down at some point. (See
  Kadosh Decl. Ex. 43 Zuluaga Tr. 184:10–18, wherein Mr. Zuluaga testified that
  this was “not a finalized version of the website” and was not supposed to have
  been on the internet.)32 Be that as it may, no reasonable jury in 2023 could
  conclude that Latinfood’s use of Industria’s logo in 2016 is likely to cause
  damage to Industria in the future. I will grant Latinfood’s motion for summary
  judgment as to the false advertising claim, and deny Industria’s motion.
         C. Trade Dress Infringement
                  Legal Standards/Lapp factors
         “To establish trade dress infringement under the Lanham Act, a plaintiff
  must prove that (1) the allegedly infringing design is non-functional; (2) the
  design is inherently distinctive or has acquired secondary meaning; and
  (3) consumers are likely to confuse the source of the plaintiff’s product with
  that of the defendant’s product.” McNeil Nutritionals, LLC v. Heartland
  Sweeteners, LLC, 511 F.3d 350, 357 (3d Cir. 2007). A plaintiff must also
  “articulat[e] the specific elements which comprise its distinct dress.” Fair Wind
  Sailing, Inc. v. Dempster, 764 F.3d 303, 309 (3d Cir. 2014) (quoting Landscape




  32    Having determined that Industria cannot satisfy the fifth element, I need not
  address the remaining factors.


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  Forms, Inc. v. Columbia Cascade Co., 113 F.3d 373, 381 (2d Cir. 1997)). See
  also 1 McCarthy on Trademarks and Unfair Competition § 8:3 (5th ed.)
         A “likelihood of confusion” exists where “consumers viewing the mark
  would probably assume that the product or service it represents is associated
  with the source of a different product or service identified by a similar mark.”
  Ford Motor Co. v. Summit Motor Prods., Inc., 930 F.2d 277, 292 (3d Cir. 1991).
  Courts consider a variety of factors when assessing whether two marks are
  likely to cause consumer confusion. In this Circuit these so-called “Lapp
  factors” include, but are not limited to:
         (1) the degree of similarity between the owner’s mark and the
         alleged infringing mark;
         (2) the strength of the owner’s mark;
         (3) the price of the goods and other factors indicative of the care
         and attention expected of consumers when making a purchase;
         (4) the length of time the defendant has used the mark without
         evidence of actual confusion arising;
         (5) the intent of the defendant in adopting the mark;
         (6) the evidence of actual confusion;
         (7) whether the goods, though not competing, are marketed
         through the same channels of trade and advertised through the
         same media;
         (8) the extent to which the targets of the parties’ sales efforts are
         the same;
         (9) the relationship of the goods in the minds of consumers
         because of the similarity of function;
         (10) other factors suggesting that the consuming public might
         expect the prior owner to manufacture a product in the defendant’s
         market, or that he is likely to expand into that market.

  Freedom Card, Inc. v. JPMorgan Chase & Co., 432 F.3d 463, 471 (3d Cir. 2005)
  (quoting Interpace Corp. v. Lapp, Inc., 721 F.2d 460, 463 (3d Cir. 1983)). The
  Third Circuit has “repeatedly insisted that the Lapp factors are not to be
  mechanically tallied, but rather that they are tools to guide a qualitative
  decision.” A & H Sportswear, Inc. v. Victoria’s Secret Stores, Inc., 237 F.3d 198,
  216 (3d Cir. 2000).




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           “The single most important factor in determining likelihood of confusion
  is mark similarity.” Id. Marks are confusingly similar if “ordinary consumers
  would likely conclude that [the two products] share a common source,
  affiliation, connection or sponsorship.” Id. (quoting Fisons Horticulture, Inc. v.
  Vigoro Indus., Inc., 30 F.3d 466, 477 (3d Cir. 1994)).
                    The Motions for Summary Judgment
           Industria moves for summary judgment on the trade dress infringement
  claim. Industria asserts first that Latinfood’s labels and packaging designs are
  non-functional because they “serve only to identify the product to its respective
  source of business.” (Pl. Mot. p. 29.) Industria also argues that Latinfood’s
  labels and packaging are inherently distinctive because they “primarily convey[]
  the brand or source of the product.” (Id.) Industria describes elements of
  Latinfood’s packaging, but provides no description of its own packaging. (See
  id.)33 Industria also argues that each of the Lapp factors weighs in favor of
  finding a likelihood of confusion. (Id. pp. 23–28, 30–31.)
           Latinfood responds that, in addition to showing that its trade dress is
  inherently distinctive, Industria must show that its trade dress has “secondary
  meaning.” (Def. Op. pp. 23–24.) Because Industria does not assert that its
  trade dress has secondary meaning, says Latinfood, its motion for summary
  judgment must be denied. (Id. p. 24.) Additionally, Latinfood asserts that each
  of the Lapp factors weighs against a finding of a likelihood of confusion. (Id. pp.
  14–23.) Latinfood also asserts that Industria cannot show a likelihood of
  confusion in connection with its false association claim. (See Def. Mot. pp. 23–
  29.)34



  33     That appears to be an error, as Industria here seems to be implying what it
  explicitly states in its reply brief, i.e., that its own packaging is inherently distinctive
  and worthy of protection. (See Pl. Reply pp. 15–16.) That said, the two are nearly
  identical, which of course is Industria’s point.
  34     The presentation is somewhat disordered. On its own motion for summary
  judgment, Latinfood relies on Lapp factors two, four, and six, but says little about the
  others. (See Def. Mot. pp. 23–29.) In its reply brief, however, it asks the court to
  incorporate the discussion of the Lapp factors that it provided in response to

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         For the reasons stated herein, both sides’ motions are denied. I
  nevertheless discuss these complex issues for the guidance of the parties and
  the structuring of the case going forward.
                  Discussion
                      a. Preliminary issues
         I begin by discussing whether the allegedly infringing design is non-
  functional. “[T]he primary test for determining whether a product feature is
  functional is whether the feature is essential to the use or purpose of the
  product or whether it affects the cost or quality of the product.” Shire US Inc. v.
  Barr Labs., Inc., 329 F.3d 348, 354 n.12 (3d Cir. 2003) (citing Eppendorf-
  Netheler-Hinz GMBH v. Ritter GMBH, 289 F.3d 351, 356 (5th Cir. 2002)). There
  is no evidence that the product packaging is essential to the use or purpose of
  the product, or that it affects the cost or quality of the product, and Latinfood
  does not appear to disagree. Therefore, I readily conclude that the trade dress
  design is non-functional.
         Next, I consider the question of whether the packaging and labels are
  inherently distinctive or have acquired secondary meaning. “Trade dress is
  registrable as a trademark if it serves the same source-identifying function as a
  trademark. Marks are entitled to protection if they are inherently distinctive,
  i.e., ‘their intrinsic nature serves to identify a particular source of a product.’”
  In re Forney Indus., Inc., 955 F.3d 940, 944–45 (Fed. Cir. 2020) (quoting Two
  Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 768 (1992)). Distinctiveness
  arises in one of two ways: “First, [trade dress] is inherently distinctive if [its]
  intrinsic nature serves to identify a particular source. . . . Second, [trade dress]
  has acquired distinctiveness, even if it is not inherently distinctive, if it has
  developed secondary meaning[.]” Wal-Mart Stores, Inc. v. Samara Bros., 529
  U.S. 205, 210–11 (2000) (citations omitted). Secondary meaning “occurs when,
  in the minds of the public, the primary significance of a [trade dress] is to


  Industria’s mirror-image summary judgment motion. (Def. Reply pp. 15–16.) As it
  appears the issues have been adequately aired, I will do so.


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  identify the source of the product rather than the product itself.” Id. at 211; see
  also Ideal Toy Corp. v. Plawner Toy Mfg. Corp., 685 F.2d 78, 82 (3d Cir. 1982)
  (“When the primary significance of the trade dress to a consumer is in
  designating not the product but its producer, the trade dress has acquired
  secondary meaning.”).
         Industria asserts that its Zenú and Ranchera labels are inherently
  distinctive. (See Pl. Reply pp. 15–16; Pl. Mot. pp. 29–30.) Latinfood sidesteps
  that argument, focusing on the issue of whether Industria’s trade dress has
  acquired secondary meaning. For support, Latinfood quotes Wal-Mart Stores v.
  Samara Bros., wherein the Supreme Court stated that “in an action for
  infringement of unregistered trade dress under § 43(a) of the Lanham Act, a
  product’s design is distinctive, and therefore protectible, only upon a showing
  of secondary meaning.” 529 U.S. at 216 (2000); (see Def. Op. pp. 23–24).
         Latinfood misinterprets Wal-Mart Stores, which required secondary
  meaning only in the case of a claim based on product “design, [which,] like
  color, is not inherently distinctive.” 529 U.S. at 212. The Court therefore
  reasoned that
         [i]n the case of product design, as in the case of color, we think
         consumer predisposition to equate the feature with the source does
         not exist. Consumers are aware of the reality that, almost
         invariably, even the most unusual of product designs—such as a
         cocktail shaker shaped like a penguin—is intended not to identify
         the source, but to render the product itself more useful or more
         appealing.

  Id. at 213. That was the reason for the Court’s holding that “a product design
  cannot be protected under § 43(a) without a showing of secondary meaning.”
  Id. at 214 (emphasis added).
         The Supreme Court in Wal-Mart carefully noted that its holding in Two
  Pesos, involving a claim not based on product design, remained undisturbed.
  Id. at 214–15. In Two Pesos, the Supreme Court held that the trade dress of
  the plaintiff’s restaurant, described as “a festive eating atmosphere having
  interior dining and patio areas decorated with artifacts, bright colors, paintings


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  and murals,” could be protected without a showing of secondary meaning.
  Walmart, 529 U.S. 214–15 (citing Two Pesos, 505 U.S. at 765). Wal-Mart
  expressly distinguished Two Pesos, noting that it did not involve product design
  trade dress, but instead involved product packaging or something similar. Id.
  at 215. A product’s packaging (unlike design), then, can be protected as trade
  dress under § 43(a) if it is established that the packaging is inherently
  distinctive; an additional showing of secondary meaning is not required. Id. at
  214–15. See In re Forney Indus., Inc., 955 F.3d 940, 946–47 (Fed. Cir. 2020)
  (“[N]othing in the Wal–Mart decision questioned or undermined our established
  case law regarding the circumstances under which a proposed product
  packaging mark may be deemed inherently distinctive.” (internal quotations
  omitted)).
         Here, Industria seeks protection for its packaging and labels, not the
  design of the products. (Pl. Mot. pp. 29–31; Pl. Reply pp. 15–16.) Industria’s
  claim thus falls on the Two Pesos side of the Two Pesos/Wal-Mart divide, and
  Industria is not required to show secondary meaning. Because Latinfood’s legal
  objection fails, and because it fails to raise a genuine issue of material fact as
  to the inherent distinctiveness of Industria’s trade dress, I conclude that the
  second requirement is satisfied.
         Latinfood also asserts that it is permitted to copy Industria’s packaging
  design, based on this excerpt from the Third Circuit’s decision in Fair Wind:
         “The purpose of trade dress protection is to ‘secure the owner of
         the trade dress the goodwill of his business and to protect the
         ability of consumers to distinguish among competing producers.’”
         McNeil Nutritionals, LLC v. Heartland Sweeteners, LLC, 511 F.3d
         350, 357 (3d Cir.2007) (quoting Shire U.S. Inc. v. Barr Labs., Inc.,
         329 F.3d 348, 353 (3d Cir.2003)). Trade dress protection does not
         shield businesses from plagiarism. See Dastar Corp. v. Twentieth
         Century Fox Film Corp., 539 U.S. 23, 36, 123 S. Ct. 2041, 156
         L.Ed.2d 18 (2003). Indeed, “[t]rade dress protection must subsist
         with the recognition that in many instances there is no prohibition
         against copying goods and products.” TrafFix Devices, Inc. v. Mktg.
         Displays, Inc., 532 U.S. 23, 29, 121 S. Ct. 1255, 149 L.Ed.2d 164
         (2001); see also Thomas & Betts Corp. v. Panduit Corp., 65 F.3d

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         654, 657 (7th Cir.1995) (“Copying is not only good, it is a federal
         right—a necessary complement to the patent system's grant of
         limited monopolies.”).

  Fair Wind, 764 F.3d at 308–09. Latinfood has taken this quote out of context.
  The Third Circuit did not hold that copying is inherently permissible, or
  undermine the Supreme Court case law cited above. At the conclusion of the
  paragraph on which Latinfood relies, the Third Circuit stated that trade dress
  protection is available to “incidental, arbitrary or ornamental product features
  which identify the product’s source.” Id. at 309. The paragraph immediately
  following explains that, nevertheless, trade dress protection is available to a
  plaintiff who establishes that “(1) the allegedly infringing design is
  nonfunctional; (2) the design is inherently distinctive or has acquired
  secondary meaning; and (3) consumers are likely to confuse the source of the
  plaintiff's product with that of the defendant's product.” Id. That is the test I
  apply here.
                     b. Lapp factors
         Having concluded (1) that the trade dress design is non-functional and
  (2) that the packaging and labels are protectable because they are inherently
  distinctive, I now consider (3) whether there is a likelihood of confusion under
  the Lapp factors. Here, I find issues of fact that bar summary judgment.
         Throughout, Latinfood tends to avoid the substance of this issue, instead
  falling back on the argument that Industria does not sell its products in the
  United States. A fact finder might view this strategy as a tacit admission by
  Latinfood that it knocked off Industria’s trade dress, but I will nevertheless
  analyze the underlying evidence on a summary judgment standard. Some
  issues of fact remain. To the extent practicable without the benefit of fact
  finding, however, I will perform the Lapp likelihood-of-confusion analysis, to
  assist in the structuring of the case going forward.




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                       i.    First Lapp Factor
         As to the first factor, there is no genuine dispute that the overall
  appearance of Latinfood’s Zenú packaging design is virtually identical to those
  of Industria, and its Ranchera packaging design is very similar.
         The single most important factor in determining likelihood of
         confusion is mark similarity. Marks are confusingly similar if
         ordinary consumers would likely conclude that the two products
         share a common source, affiliation, connection or sponsorship. The
         proper test is not side-by-side comparison but whether the labels
         create the same overall impression when viewed separately. Courts
         should compare the appearance, sound and meaning of the marks
         in assessing their similarity. There is no simple rule as to when
         marks are too similar. The degree of similarity needed to prove
         likely confusion will vary with the difference in the goods of the
         parties. Where the goods are directly competitive, the degree of
         similarity required to prove a likelihood of confusion is less than in
         the case of dissimilar products.

  Kos Pharms., Inc. v. Andrx Corp., 369 F.3d 700, 712–13 (3d Cir. 2004) (internal
  quotations and citations omitted). When applied to trade dress infringement
  cases, “[s]imilarity of appearance is properly considered paramount in
  trademark and product packaging trade dress infringement cases, for unless
  the allegedly infringing mark or dress is substantially similar to the protectable
  mark or dress, it is highly unlikely that consumers will confuse the product
  sources represented by the different marks or trade dresses.” Versa Prod. Co. v.
  Bifold Co. (Mfg.), 50 F.3d 189, 202 (3d Cir. 1995).
         Industria explains that, for both meat and canned Zenú products,
  Industria’s packaging includes “the Zenú brand name prominently at the top of
  the label in stylized red script.” (Pl. Mot. pp. 29–30.) The labels also include
  photographs of the food contained within the packaging on a white
  background. (Id. p. 30.) For sausage Zenú products, the labeling “provides the
  product’s name in white text against a darkly colored box in the center right of
  the label.” (Id.) For canned Zenú goods, “the product name is centered beneath
  the brand name in italicized script and the bottom of the label comprises a
  solid strip of color matching the text of the product name.” (Id.; see generally

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  Salazar Decl. Exs. V–W.) Industria contends that Latinfood’s Zenú packaging
  for meat and canned products is nearly identical. (See generally Kadosh Decl.
  Exs. 16–17.) For comparison, images of the two are attached to this opinion as
  Exhibit A.
         For Ranchera products, Industria explains that its packaging displays
  the Ranchera name in “bold, capitalized letters arched across the top of the
  label” over a “sunny yellow and orange background.” (Pl. Mot. p. 30.) Beneath
  the name, the packaging displays a “sun-drenched ranch image . . . containing
  a frontier family eating around a camp fire.” (Id.; see generally Salazar Decl.
  Ex. G.) Industria contends that the products are similar, although instead of
  using an image of a frontier family, Latinfood’s Ranchera label displays an
  image of “men on horseback riding off into the sunset.” (Pl. Mot. p. 30; see
  generally Kadosh Decl. Exs. 20–21.) Notably, Latinfood also displays the Zenú
  logo on its Ranchera packaging. (Pl. Mot. p. 30.)
         A visual inspection is sufficient to establish the presence of this Lapp
  factor of mark similarity. Latinfood cannot really deny that the marks are very
  similar indeed.
         Rather, Latinfood falls back on its general argument that Industria has
  never sold its products in the United States. (Def. Op. p. 16.) Where the
  products are not directly competing, says Latinfood, the similarity of the
  marks, even if established, should receive less weight; in such a case, “the
  similarity of the marks is only one of a number of factors the court must
  examine to determine likelihood of confusion.” (Id. (quoting Checkpoint Sys.,
  Inc. v. Check Point Software Techs., Inc., 269 F.3d 270, 282 (3d Cir. 2001)).
  True enough, but if Latinfood means to imply that the significance of the first
  Lapp factor is wholly negated, it is incorrect; the quoted passage signifies only
  that “mark similarity is not necessarily determinative of likely confusion,
  particularly when the products do not directly compete.” Checkpoint Sys., Inc.,
  269 F.3d at 282. Direct competition is not a necessary element, although its




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  presence or absence may go to the weight the court will ultimately give to this
  critical first factor.
         In sum, there is a very high degree of similarity between Industria’s
  and Latinfood’s packaging, and Latinfood cannot plausibly contend
  otherwise.
                           ii.   Second Lapp Factor
         As to the second factor, strength of the trade dress, the Court considers
  (1) “the inherent features of the mark contributing to its distinctiveness or
  conceptual strength” and (2) “the factual evidence of the mark’s commercial
  strength or of marketplace recognition of the mark.” Sabinsa Corp. v. Creative
  Compounds, LLC, 609 F.3d 175, 184–85 (3d Cir. 2010); see also Versa Prod.
  Co., 50 F.3d at 203 (considering the strength of the product’s packaging in a
  trade dress infringement case).
         On the first prong, Industria argues that its trade dress is distinctive
  because it is fanciful and arbitrary. According to Industria: “Zenú, having no
  meaning outside its function as a trademark, is fanciful, while Ranchera, the
  Spanish word for ‘ranch,’ does not describe the ingredients, qualities or
  characteristics of Industria’s goods and is therefore an arbitrary mark.” (Pl.
  Mot. p. 22; Pl. Op. p. 19.) Latinfood does not meaningfully dispute that the
  trade dress is distinctive. (Def. Op. pp. 16–17.)
         Industria asserts that its trade dress is commercially strong because, in
  Colombia, it “makes approximately $300,000,000 annually in sales for its Zenú
  products and $100,000,000 annually in sales of its Ranchera products.” (Pl.
  Mot. p. 24; see Kadosh Decl. Ex. 39 Salazar Tr. 111:12–112:3). Industria also
  asserts that it “spends millions on advertising both brands annually.” (Pl. Mot.
  p. 24; see Salazar Decl. Ex. Q.) Industria must concede, however, that it does
  not actively advertise its Zenú or Ranchera products in the United States. (Def.
  St. ¶ 14; Pl. Resp. ¶14; Def. Supp. St. ¶ 9; Pl. Supp. Resp. ¶ 9.) For what it is
  worth, Industria submits evidence that its trade dress has been seen by U.S.
  residents; the Zenú and Ranchera websites have been visited by users located


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  in the United States thousands of times between 2012 and 2017. (Pl. St. ¶¶ 17–
  18; Def. Resp. ¶¶ 17–18.) Those views of Industria’s website by users located in
  the United States may indicate at least some commercial strength of its trade
  dress.35
         Latinfood responds, again, that the commercial-strength facts on which
  Industria relies are irrelevant because Industria does not sell or advertise its
  products in the United States. (Def. Op. pp. 16–17.) Here, Latinfood cites A & H
  Sportswear, Inc. v. Victoria’s Secret Stores, Inc., 237 F.3d 198 (3d Cir. 2000),
  but that case does not truly support its position. There, the district court
  determined that the mark at issue had a high level of commercial strength
  based on the money spent on advertising, increased public recognition, and
  increase in sales. Id. at 224. The Third Circuit, albeit on clear-error review,
  affirmed the district court’s analysis of this factor. When considering the
  strength of the mark, the Third Circuit rejected “a per se rule against
  considering the use of the mark in different markets and for unrelated
  products.” Id. Indeed, A&H Sportswear explicitly recognizes that the mark’s
  strength in other markets is relevant: “Although the wide use of a term within
  the market at issue is more probative than the wide use of a term in other
  markets, the extensive use of the term in other markets may also have a
  weakening effect on the strength of the mark.” Id. at 223 (citation omitted).
         Therefore, I conclude that a fact finder, viewing the current record, could
  reach a range of conclusion as to likelihood of confusion.




  35     Latinfood responds that website traffic cannot be used as a measure of
  commercial strength (Def. Op. p. 17 n. 18), citing Klumba.UA, LLC v. Klumba.com, 320
  F. Supp. 3d 772, 778 (E.D. Va. 2018). Latinfood has a point, but presses the point too
  far. Klumba’s holding addressed an entirely different question: whether the plaintiff’s
  service was “performed in the United States” or involved “transactions between United
  States citizens and the subject of the foreign nation.” Id. at 777–78. Under that
  consideration, the Klumba court held that mere access to a website was insufficient to
  show business activity in the United States. Id. at 778.


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                     iii.   Third Lapp Factor
         The third factor, consumer sophistication, has been elaborated thus:
  “When consumers exercise heightened care in evaluating the relevant products
  before making purchasing decisions, courts have found there is not a strong
  likelihood of confusion. Where the relevant products are expensive, or the
  buyer class consists of sophisticated or professional purchasers, courts have
  generally not found Lanham Act violations.” Checkpoint Sys., Inc., 269 F.3d at
  284; see Sabinsa Corp., 609 F.3d at 186 (noting that “courts have found there
  is not a strong likelihood of confusion . . . [w]here the relevant products are
  expensive, or the buyer class consists of sophisticated or professional
  purchasers”) (internal quotations and citation omitted).
         Industria states that “Zenú and Ranchera products for both parties are
  inexpensive household food products marketed to ordinary consumers in local
  grocery stores.” (Pl. Mot. p. 25.) Latinfood, again, eschews direct analysis, again
  falling back on Industria’s lack of sales in the U.S.: “Industria has no U.S.
  consumers, and presents no evidence that consumers are not sophisticated.
  When viewed through the prism of the January 29, 2019 Stipulation (D.E. 208-
  1), which unequivocally stated that they do not sell or market Zenú or
  Ranchera products in U.S. commerce, the third Lapp factor weighs in
  Latinfood’s favor.” (Def. Op. p. 18.)
         Neither side cites evidence as to the care with which consumers select
  these products. In PB Brands, LLC v. Patel Shah Indian Grocery, the Court
  suggested that intuitions are not enough to support a finding on this factor;
  there, the plaintiff unsuccessfully argued that customers exercised a low
  degree of care in selecting their grocery store because the items sold at the
  grocery stores cost relatively little. 331 F. App’x 975, 982 (3d Cir. 2009). The
  district court determined, and the Third Circuit agreed, that the third factor
  was neutral because “[n]either party provided sufficient evidence to elucidate”
  the degree of care consumers spend on choosing their grocery store. Id.




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         It is axiomatic, of course, that the purchase of a can of beans is not like
  the purchase of an automobile, but when it comes to food items, consumers
  may nevertheless have strong preferences. Because neither party has provided
  any evidence, this factor could be taken as neutral, but at any rate cannot be
  resolved on a summary judgment standard.
                      iv.   Fourth and Sixth Lapp Factors
         I discuss together the fourth and sixth factors, the length of time without
  confusion and evidence of actual confusion. Although evidence of actual
  confusion is not required, it is “highly probative of a likelihood of confusion.”
  Sabinsa Corp., 609 F.3d at 187. The Third Circuit has explained that, “the
  more evidence of actual confusion that a plaintiff can muster, the stronger the
  likelihood of confusion in the future, but lack of evidence of actual confusion
  (at least where the time period that the two products have been in competition
  is short or when the particular circumstances [do not] indicate such evidence
  should have been available) does not raise an inference that there is no
  likelihood of confusion.” Versa Prod. Co., 50 F.3d at 205 (internal citation and
  quotation marks omitted).
         Industria’s evidence of actual confusion includes the interactions with
  Ms. Moreno in 2014 (Salazar Decl. Exs. RR, SS; Def. Supp. St. ¶ 17; Pl. Supp.
  Resp. ¶ 17) and with an alleged customer on Twitter in February 2022 (Salazar
  Decl. Ex. UU; see description in Section IV.B., supra). Additionally, on an
  unidentified date (but some time in or after 2014), a Facebook user posted in a
  group titled “WikiWomen in Medellin” that she purchased “ranchera sausages”
  at an unidentified location in the United States and that “they say” that “Zenú
  set up a plant in New York for the Colombia market in the U.S.A.” (Salazar
  Decl. Ex. TT.) The Facebook user then asked if there is a plant in New York or if
  “they are using the company’s branding but they are not their products.” (Id.) It
  appears that there were eight comments below the post, but Industria did not
  attach those comments. See id. Notably, the post does not include a picture or
  any other information relating to Latinfood’s products in particular. (See id.;


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  see also Def. Supp. St. ¶ 17; Pl. Supp. Resp. ¶ 17.) The issue, it must be
  remembered, is not “confusion” generally, but confusion or conflation as to the
  products of these two parties.
         Latinfood insists that this evidence is not enough, citing the Fourth
  Circuit’s statement in Belmora that “[a] few isolated consumers who confuse a
  mark with one seen abroad, based only on the presence of the mark on a
  product in this country and not other misleading conduct by the mark holder,
  would rarely seem to [support] a viable § 43(a) claim.” (Def. Op. p. 20 (citing
  Belmora, 819 F.3d at 710 n.8).) However, the discussion in Belmora also drew a
  relevant distinction between that hypothetical scenario and one in which the
  defendant intentionally copied the plaintiff’s foreign products in order to
  influence purchases by consumers in the United States:
         The story is different when a defendant, as alleged here, has—as a
         cornerstone of its business—intentionally passed off its goods in
         the United States as the same product commercially available in
         foreign markets in order to influence purchases by American
         consumers. See M. Kramer Mfg. Co. v. Andrews, 783 F.2d 421, 448
         (4th Cir. 1986) (“[E]vidence of intentional, direct copying
         establishes a prima facie case of secondary meaning sufficient to
         shift the burden of persuasion to the defendant on that issue.”).
         Such an intentional deception can go a long way toward
         establishing likelihood of confusion. See Blinded Veterans, 872
         F.2d at 1045 (“Intent to deceive . . . retains potency; when present,
         it is probative evidence of a likelihood of confusion.”).

  Belmora, 819 F.3d at 710 n.8. And the record here could permissibly bear the
  interpretation that Latinfood’s business has passing-off as its “cornerstone.”
         Latinfood also relies on the testimony of Alejandro Yepes, a manager at
  Cordialsa, that he was not “aware of any time when a person has been
  confused as to who was the owner of Zenú or Rancher[a] marks in the U.S.”
  (See Kadosh Decl. Ex. 40 Yepes Tr. 43:14–17), and the testimony of Luis
  Salazar that he does not “have any records showing a crossover of Industria
  and Latinfood customers between the US and Col[o]mbia” and that he stated,
  in response to the question of whether, to his knowledge, Latinfood and


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  Industria have different customers, that “Industria does not do business in the
  United States” (Ingber Decl. Ex. A Salazar Tr. 60:4–12). Those transcript
  excerpts do not invalidate the evidence cited by Industria.
         A fact finder might find that Latinfood is in the passing-off business. The
  fact finder might also find it significant, however, that for a relevant period of
  eight years, Industria was able to provide only three somewhat equivocal
  instances of customer confusion.36
         I conclude that the evidence on the fourth and sixth factors would not
  require summary judgment for either party.
                       v.    Fifth Lapp Factor
         The fifth factor concerns Latinfood’s intent in using the trade dress.
  Evidence of intent “is not a prerequisite for finding a Lanham Act violation;
  such evidence, however, weighs heavily in favor of finding a likelihood of
  confusion.” Sabinsa Corp., 609 F.3d at 187. “In evaluating this factor, courts
  must look at whether the defendant chose the mark to intentionally confuse
  consumers, and thereby capitalize on the senior user’s goodwill, and whether
  the defendant gave adequate care to investigating its proposed mark.” Id. As
  discussed in the first factor, Latinfood’s Zenú labels are nearly identical to
  Industria’s and its Ranchera labels are strikingly similar. In fact, Latinfood
  instructed its vendor to consider Industria’s Zenú website when creating its
  product labels. (Kadosh Decl. Ex. 37 Isidor Tr. 41:9–42:9; Def. Supp. St. ¶ 20;
  Pl. Supp. Resp. ¶ 20.). Latinfood’s vendor also testified that Mr. Zuluaga
  brought one of Industria’s Ranchera labels to her office. (Kadosh Decl. Ex.
  Isidor 37 Tr. 67:19–68:8; Pl. St. ¶ 57; Def. Resp. ¶ 57.)
         Latinfood’s only relevant response is a conclusory statement that this
  evidence is disputed.37 (See Def. Op. pp. 21–22.) Latinfood seems to mean that


  36    The origin and admissibility of some of Industria’s internet evidence is also open
  to question.
  37    Latinfood also argues that it has “provided documentary evidence of how it
  came up with the mark Zenú by combining a portion of his family surname ZULUAGA
  and an abbreviation of the term “Enterprise” (combination containing the first two

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  it disputes why Mr. Zuluaga instructed his vendor to consider Industria’s
  website and why he brought a label to his vendor’s office, along with the other
  disputed instructions he provided to his vendors. As discussed above, this
  “read my mind” defense does not suffice when considered against the backdrop
  of all the concrete evidence of deliberate copying. See pp. 23–25, supra; see
  also pp. 66–69 (evidence of misrepresentations in connection with obtaining
  trademark).
         But even assuming that Mr. Zuluaga intended to copy Industria’s trade
  dress, this factor requires that Latinfood must also have done so with the
  “intent to confuse consumers.” See Sabinsa Corp., 609 F.3d at 187. Industria
  asserts that Latinfood demonstrated intent to confuse consumers in five ways.
  First, some of Latinfood’s products state that they are manufactured
  exclusively for “Zenú Products US, Inc.,” which Industria argues implies that
  the products come from a United States affiliate of a Colombian brand. (Pl.
  Mot. pp. 26–27; see Salazar Decl. Ex. X.) Second, some of Latinfood’s
  packaging includes the line “Linea De Exportacion,” which translates to
  “exportation line” and, according to Industria, implies that the products were
  exported (presumably, from Colombia), despite their actually having been
  manufactured in the U.S. (Pl. Mot. p. 27; see Pl. St. ¶ 73; Def. Resp. ¶ 73.)
  Third, on October 4, 2016, Latinfood’s website declared, “We have products
  from” with Industria’s Zenú logo underneath, implying an affiliation with
  Industria (Pl. Op. p. 25; see Kadosh Decl. Exs. 22, 43 Zuluaga Tr. 182:14–
  183:25.) Fourth, advertisements for Latinfood’s Zenú products include the
  phrase “deliciosa tradición,” which Industria states translates to “delicious
  tradition” and implies that Latinfood’s Zenú products are connected with


  letters of his surname ZU and the abbreviation for the term enterprise “EN”)
  discarding as “ZABU,” “ZINU” and “ZANU” after dismissing other choices such as
  “ZABU,” “ZINU” and “ZANU.”” (Def. Op. p. 21; see Kadosh Decl. Exs. 1, 3.) Latinfood
  also explains its reason for adding an accent over the U in Zenú. (Id.) Latinfood’s
  argument is irrelevant to Industria’s trade dress claim. Although it purports to explain
  how Mr. Zuluaga arrived at the name Zenú, it does not explain how Latinfood’s
  packaging came to be nearly identical to Industria’s packaging.


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  Industria’s Zenú products. (Pl. Mot. p. 27; see Kadosh Decl. Exs. 24, 25.) Fifth,
  a supermarket store manager testified at deposition that Mr. Zuluaga had a
  reputation for selling Colombian products and Mr. Zuluaga told him that Zenú
  was a brand known in Colombia. (See Kadosh Decl. Ex. 38 Rodriguez Tr.
  31:14–25, 29:23–30:2, 31:10–13; Pl. St. ¶ 79; Def. Resp. ¶ 79.) Latinfood
  disputes that the evidence creates a connection with Industria that would
  confuse consumers, and I recognize that most of the evidence on which
  Industria relies does not mention Industria or Colombia.
         On the other hand, Latinfood has the tried-and-true argument that it
  sells in the U.S., that Industria has no customers in the U.S., that Latinfood
  was not privy to any plans by Industria to expand its operations here, and that
  Latinfood therefore did not set out to confuse its U.S. customers. Particularly
  because this factor concerns intent, I cannot say as a matter of law that Mr.
  Zuluaga’s actions establish an intent to copy Industria’s trade dress in a
  manner that would confuse U.S. consumers.
         I proceed with particular caution because this factor can “weigh[] heavily
  in favor of finding a likelihood of confusion.” Sabinsa Corp., 609 F.3d at 187. I
  cannot grant summary judgment to either party on this factor.
                     vi.   Seventh, Eighth, and Ninth Lapp Factors
         The seventh, eighth, and ninth factors address the “nature of the services
  provided, the customers targeted, and the methods use[d] to reach those
  customers.” Primepoint, L.L.C. v. PrimePay, Inc., 545 F. Supp. 2d 426, 444
  (D.N.J. 2008) (addressing these factors together). The “greater the similarity in
  advertising and marketing campaigns, the greater the likelihood of confusion.”
  Checkpoint Sys., Inc., 269 F.3d at 288-89. “When the parties target their sales
  efforts to the same group of consumers, there is a greater likelihood of
  confusion between the two marks.” Sabinsa Corp., 609 F.3d at 188.
         Industria concedes that its sales of Zenú and Ranchera products are
  limited to Colombia. (Pl. Mot. p. 27.) However, Industria asserts that these
  factors nevertheless weigh in its favor because it intends to enter the United


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  States market and that, once it does so, will target “a nostalgic market of
  Colombians.” (Id.) According to Industria, because Latinfood similarly targets
  “Hispanics and Hispanic-serving markets,” this will lead to a likelihood of
  confusion. (Id.) Additionally, Industria argues that, because it and Latinfood
  are “purveyors of food products, and commonly of sausage and other meat
  products and canned vegetables,” the average consumer would conclude that
  “Industria offered Latinfood’s Zenú and Ranchera products and vice versa.” (Id.
  p. 28.)
         As discussed above, there is a dispute of material fact as to whether
  Industria concretely intends or is able to enter the United States market. See
  Section IV.A.2., supra. Additionally, Industria has not provided any information
  regarding its reputation in the United States. See id. Although Industria’s Zenú
  and Ranchera websites have been visited by users located in the United States
  thousands of times between 2012 and 2017, there are no products for sale on
  those websites and there is no indication that Industria sells products to
  United States consumers either through its websites or in stores. For the same
  reason that the so-called “statutory standing” issue requires the involvement of
  the finder of fact, I lack a sufficient record to weigh the seventh, eighth, and
  ninth factors on a summary judgment standard.
                                       *   *    *
         Upon review of the relevant factors, I find that questions of fact remain.
  Summary judgment is denied to both sides on the claim of trade dress
  infringement.
         D. False-Association Trademark Infringement
         The elements of a false-association trademark infringement claim under
  the Lanham Act track the elements of a common law trademark infringement
  claim: a plaintiff must prove that “(1) the marks are valid and legally
  protectable; (2) the marks are owned by the plaintiff; and (3) the defendant’s
  use of the marks to identify goods or services is likely to create confusion




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  concerning the origin of the goods or services.” Ford Motor Co., 930 F.2d at 291
  (internal quotation marks omitted).
         Latinfood asserts that Industria has no valid trademark rights to the
  Zenú or Ranchera marks and that Industria offers no evidence demonstrating
  that its designs are “inherently distinctive.” (Def. Mot. pp. 14–16; Def. Reply p.
  15.) Latinfood also asserts that it is the owner of the federally registered Zenú
  mark and that “trademark[] rights arise from use within a geographic area.”
  (Def. Mot. p. 15 (citing Tally Ho, Inc. v. Coast Cmty. Coll. Dist., 889 F.2d 1018,
  1022–23 (11th Cir. 1989).) Industria recognizes that its marks are not federally
  registered in the United States but asserts that its Zenú and Ranchera marks
  are nevertheless protected under the Lanham Act because they are “inherently
  distinctive.” (Pl. Op. p. 19.) Industria does not assert that its marks have
  secondary meaning. Industria relies on its use of the trademarks in Colombia
  to show its ownership of the marks. (Pl. Op. p. 18.) Both parties apply the Lapp
  factors and dispute whether there is a likelihood of confusion. (Def. Mot. pp.
  23–29; Pl. Op. pp. 19–23.)
         As to the first element, whether the marks are valid and legally
  protectable, “[i]f the mark at issue is federally registered and has become
  incontestible, then validity, legal protectability, and ownership are proved.”
  Commerce Nat. Ins. Servs., Inc. v. Commerce Ins. Agency, Inc., 214 F.3d 432,
  438 (3d Cir. 2000). “If the mark has not been federally registered or, if
  registered, has not achieved incontestability, then validity depends on proof of
  secondary meaning, unless the unregistered or contestable mark is inherently
  distinctive.” Id. (quoting Ford Motor Co., 930 F.2d at 292 (footnotes omitted)). A
  distinctive mark is one that is fanciful, arbitrary, or suggestive. Id. at 438 n. 5.
  “Suggestive marks require consumer ‘imagination, thought, or perception’ to
  determine what the product is,’” while “[a]rbitrary or fanciful marks use terms
  that neither describe nor suggest anything about the product; they ‘bear no
  logical or suggestive relation to the actual characteristics of the goods.’” A & H
  Sportwear, 237 F.3d at 221–22 (citations omitted).



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         There is no evidence that Industria has, or at some relevant time had, a
  federally registered and incontestable trademark for Zenú or Ranchera.
  Industria once filed a registration for a U.S. trademark for Zenú, but it is no
  longer in effect, and there is no evidence that the trademark ever achieved
  incontestability. (See Def. St. ¶ 2; Pl. Resp. ¶ 2.) Industria never owned a U.S.
  registration for Ranchera. (See Def. St. ¶ 4; Pl. Resp. ¶ 4.) Therefore, to
  maintain its trademark infringement claim, Industria must establish that its
  Zenú and Ranchera marks have secondary meaning or are inherently
  distinctive. Industria asserts that its Zenú and Ranchera marks are inherently
  distinctive in a single, conclusory sentence: “Zenú, having no meaning outside
  its function as a trademark, is fanciful, while Ranchera, the Spanish word for
  ‘ranch,’ does not describe the ingredients, qualities or characteristics of
  Industria’s goods and is therefore an arbitrary mark.” (Pl. Mot. p. 22; Pl. Op. p.
  19); see also Sections IV.C.2 & IV.C.3.a., supra. While such a contention may
  be intuitively plausible to this American consumer, Industria does not point to
  any further evidence to support its position.
         Assuming arguendo that Industria could satisfy this first factor, I look at
  the second: ownership of the mark.
         “When determining ownership of an unregistered trademark, the Court
  considers (1) priority of use, and (2) market penetration.” MNI Mgmt., Inc. v.
  Wine King, LLC, 542 F. Supp. 2d 389, 405 (D.N.J. 2008). “The first use test is
  generally proper for unregistered trademarks, taking account of the well-
  established common law principle of ‘first-in-time, first-in-right’ that rewards
  actual and continuous use in commerce as between market competitors.”
  Covertech Fabricating, Inc. v. TVM Bldg. Prod., Inc., 855 F.3d 163, 170 (3d Cir.
  2017); see also Ford Motor Co., 930 F.2d at 292 (“With respect to ownership of
  unregistered marks, the first party to adopt a trademark can assert ownership
  rights, provided it continuously uses it in commerce.”).
         “[T]he trademark of a prior user should be protected from infringement
  by a subsequent user of the same mark only in areas where the prior user has



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  established a market for its goods[.]” Parks LLC, 863 F.3d at 237 n.24 (quoting
  Nat. Footwear Ltd. v. Hart, Schaffner & Marx, 760 F.2d 1383, 1394 (3d Cir.
  1985)). Market penetration requires a showing of “(1) volume of sales;
  (2) positive and negative growth trends in the area; (3) the number of actual
  customers in relation to the potential number of customers; and (4) the amount
  of advertising in the area.” MNI Mgmt., Inc., 542 F. Supp. 2d at 406.
         There is no sufficient evidence that Industria is the owner of the Zenú or
  Ranchera marks for purposes of the trademark infringement claim. Industria
  acknowledges that it has “never sold any goods in the United States” (Def. St. ¶
  6; Pl. Resp. ¶ 6), and in particular, Industria “does not sell or advertise Zenú or
  Ranchera branded products in the United States.” (Def. St. ¶ 14; Pl. Resp.
  ¶ 14.) The only possible use in U.S. commerce occurred when Cordialsa sold “a
  couple of cases” of “Zenú marked beans to a bakery in Texas . . . as part of the
  process of planning to import Zenú-marked goods into the U.S.” (Def. St. ¶ 5;
  Pl. Resp. ¶ 5.)38
         Some sufficient evidence of priority of use or market penetration would
  be required to establish ownership of the Zenú or Ranchera marks for purposes
  of the Lanham Act. Although use in United States commerce is not a
  prerequisite for every claim, see Section IV.A.1, supra, it is a required element
  of this particular one.
         Because Industria cannot show ownership in the U.S. of its Zenú or
  Ranchera marks, I will grant summary judgment to Latinfood and deny
  summary judgment to Industria on the false-association trademark
  infringement claim under the Lanham Act. I find the same with respect to


  38    A U.S. company, unrelated to this action, is currently challenging the Ranchera
  mark as unregistrable because it potentially infringes that company’s “Ranchero”
  mark. (See Def. St. ¶¶ 21–22; Pl. Resp. ¶¶ 21–22.) Although registration is not a
  prerequisite, “there is a difference between a mark that happens to be unregistered,
  and one that cannot be registered as a matter of law.” Renna v. Cnty. of Union, N.J., 88
  F. Supp. 3d 310, 320 (D.N.J. 2014). The dispute concerning whether Industria’s
  Ranchera mark is registrable could present a further obstacle to a finding that
  Industria owns the Ranchera trademark. Proceedings on that challenge, however, have
  been stayed pending the outcome of this action. (Def. St. ¶ 22; Pl. Resp. ¶ 22.)


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  Industria’s claims for unfair competition under New Jersey law, N.J.S.A. 56:4-
  1, -2 (Counts 15 and 16), because Industria’s state law claims are based on its
  Zenú and Ranchera trademark rights. (See Compl. ¶¶ 199–216.) I therefore will
  deny Industria’s motion for summary judgment and grant summary judgment
  to Latinfood on those claims.
         E. Source Misrepresentation
         Latinfood and Industria both move for summary judgment on Industria’s
  source-misrepresentation claim pursuant to Section 14(3) of the Lanham Act
  (Count 11). “The Lanham Act provides that a third party may petition for
  cancellation of a registered trademark if the registration was procured by
  fraud.” Covertech Fabricating, Inc. v. TVM Bldg. Prod., Inc., 855 F.3d 163, 174–
  75 (3d Cir. 2017) (citing 15 U.S.C. §§ 1064(3), 1120). For such a claim to
  succeed, “a showing . . . must be made by clear and convincing evidence that
  the ‘applicant or registrant knowingly ma[de] a false, material representation
  with the intent to deceive the PTO. That intent to deceive can be inferred from
  indirect or circumstantial evidence, indicating that the registrant actually knew
  or believed that someone else had a right to the mark’” Id. (internal citations
  omitted) (quoting In re Bose Corp., 580 F.3d 1240, 1245 (Fed. Cir. 2009); citing
  Marshak v. Treadwell, 240 F.3d 184, 196 (3d Cir. 2001)).
         Section 14(3) of the Lanham Act provides, in pertinent part:
         [a] petition to cancel a registration of a mark, stating the grounds
         relied upon, may, upon payment of the prescribed fee, be filed as
         follows by any person who believes that he is or will be damaged,
         including as a result of a likelihood of dilution . . . under section
         1125(c) . . . by the registration of a mark on the principal register
         established by this chapter, or under the Act of March 3, 1881, or
         the Act of February 20, 1905:

         (3) . . . [if] its registration was obtained fraudulently or contrary to
         the provisions of section 1054 of this title or of subsection (a), (b), or
         (c) of section 1052 of this title for a registration under this chapter,
         or contrary to similar prohibitory provisions of such prior Acts for a
         registration under such Acts, or if the registered mark is being used
         by, or with the permission of, the registrant so as to misrepresent


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         the source of the goods or services on or in connection with which
         the mark is used.

  15 U.S.C. § 1064(3) (emphasis added).
                  Latinfood’s Motion for Summary Judgment
         Latinfood asserts the familiar grounds that Industria’s source-
  misrepresentation claim must fail because Industria has no trademark rights
  in the Zenú and Ranchera marks and has not sold its products in the United
  States. (Def. Mot. pp. 14–16.) Industria responds that Latinfood’s argument
  “misconstrues the scope and purpose of Section 14(3).” (Pl. Op. p. 29.)
  Industria relies on the text of 15 U.S.C. § 1064, which permits “any person who
  believes that he is or will be damaged . . . by the registration of a mark” to
  petition for cancellation of a trademark. (Id.) Therefore, Industria argues, it “is
  not required to establish trademarks rights in the U.S. in order to bring a
  cancellation petition under Section 14(3).” (Id.) All that is required, says
  Industria, is that it have “a reasonable belief of damage arising from
  Defendants’ registration,” a burden which Industria can satisfy “by the fact
  that Defendants’ registration and use of the Zenú mark has prevented
  Industria from introducing its Zenú-marked products in the U.S., . . . and
  prevented Industria from registering its own Zenú mark in the U.S.” (Id. pp.
  29–30.)
         Here it is important to keep in mind that this Section 14(3) claim is not
  one for infringement damages per se, but for cancellation of a mark. I agree
  that Industria is not required to establish United States trademark rights to
  petition for cancellation of Latinfood’s Zenú mark. See Australian Therapeutic
  Supplies Pty. Ltd. v. Naked TM, LLC, 965 F.3d 1370, 1374 (Fed. Cir. 2020)
  (“Entitlement to a cause of action under § 1064 is not contingent on whether a
  petitioner has proprietary rights in its own mark.”). Industria is also not
  required to have sold its products in the United States. See id. Rather, “[a]
  petitioner may demonstrate a real interest and reasonable belief of damage
  where the petitioner has filed a trademark application that is refused
  registration based on a likelihood of confusion with the mark subject to

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  cancellation.” Id. at 1375 (citing Empresa Cubana del Tabaco v. Gen. Cigar Co.,
  753 F.3d 1270, 1274–75 (Fed. Cir. 2014)). In Empresa Cubana, the Federal
  Circuit held that a trademark application is a “legitimate commercial interest,”
  which satisfies the “real interest” requirement, and “blocking” an application
  can satisfy the belief of damage requirement. 753 F.3d at 1275.
         Here, Industria has shown a legitimate commercial interest because it
  applied to the USPTO for registration of its Zenú mark. (See Kadosh Decl. Ex
  28.) Industria has also shown a belief of damage because Industria’s trademark
  application is currently suspended pending the outcome of this civil
  proceeding. (See Kadosh Decl. Ex 29.)
         Therefore, Latinfood’s arguments that Industria cannot maintain its
  source misrepresentation claim are without merit, and I will deny Latinfood’s
  motion for summary judgment.
                  Industria’s Motion for Summary Judgment
         I turn to the separate question of whether Industria is entitled to
  summary judgment on its source-misrepresentation claim. Industria asserts
  that Mr. Zuluaga’s application to the USPTO to register the Zenú mark was
  fraudulent in three ways. (Pl. Mot. p. 39.) For the reasons discussed below, any
  one of Industria’s arguments would warrant summary judgment in its favor on
  the source misrepresentation claim.
         First, Industria asserts that Mr. Zuluaga “made his attestation that no
  other corporation had the right to use the Zenú mark in commerce with full
  knowledge of Industria’s prior right to the mark.” (Id.) Latinfood39 has two
  responses: (a) that it, and particularly Mr. Zuluaga, had no knowledge of


  39     At the time Mr. Zuluaga filed the trademark application for the Zenú mark, he
  was operating HWZ; hence, HWZ is listed as the owner of the trademark on the
  application. (See Kadosh Decl. Ex. 4.) As discussed in Section I.A., supra, on the same
  day that the USPTO registered the Zenú trademark to HWZ, HWZ recorded an
  assignment of its entire interest in the Zenú trademark to Latinfood, the successor
  company to HWZ. (See Pl. St. ¶¶ 36–37; Def. Resp. ¶¶ 36–37; Def. St. ¶¶ 16–17; Pl.
  Resp. ¶¶ 16–17.) With that in mind, for consistency, the use of Latinfood in this
  section should be construed as referring to HWZ, where appropriate.


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  Industria’s Zenú mark at the time of its application, and (b) that USTM is solely
  to blame for the falsehoods contained in the application. (See Def. Op. p. 29–
  31.) Neither is sufficient.
         As part of the application, Mr. Zuluaga himself signed a declaration
  stating:
         to the best of his/her knowledge and belief, no other person, firm,
         corporation, or association has the right to use the mark in
         commerce, either in the identical form thereof or in such near
         resemblance thereto as to be likely when used on or in connection
         with the goods/services of such other person, to cause confusion,
         or to cause mistake, or to deceive.

  (Kadosh Decl. Ex. 4.) As discussed above, there is overwhelming evidence in
  the record demonstrating that Latinfood had knowledge of Industria’s Zenú
  mark when it filed its Zenú application with the USPTO. See discussion at pp.
  23–25, supra. Additionally, there is no evidence in the record to support
  Latinfood’s position that USTM unilaterally submitted false information to the
  USPTO. In fact, the record establishes that the opposite is true. See id.
  Therefore, I conclude that the record contains clear and convincing evidence
  that Mr. Zuluaga falsely claimed in his USPTO application that no other
  corporation had the right to use the Zenú mark in commerce. The statement
  was material because, as the application warned, its falsity could affect the
  validity of the application or any resulting registration. (See Kadosh Decl. Ex.
  4.) Mr. Zuluaga’s intent to deceive the USPTO is evident based on his
  knowledge of Industria’s Zenú mark at the time of his application and his use
  of images of Industria’s products as his own.
         Industria’s second and third claims of fraud concern the date on which
  Latinfood first used the Zenú mark in commerce. Industria asserts that Mr.
  Zuluaga’s application “attaches specimen photos purporting to show use in
  commerce that were in fact photos of Industria’s Zenú products and, thus,
  does not show use of the mark by Latinfood at any time” and “states that
  Latinfood’s predecessor had used the Zenú mark in commerce since January 1,
  2011, despite no use in commerce until at earliest 2013, after the application

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  was filed.” (Pl. Mot. p. 39.) Indisputably, the images attached to Latinfood’s
  application are of Industria’s products. (Pl. St. ¶ 33; Def. Resp. ¶ 33; see
  Kadosh Decl. Ex. 4); see Section III.B.2, supra. Furthermore, in response to a
  request from the USPTO for additional images, Mr. Zuluaga sent USTM images
  of Industria’s products and asked that USTM upload those images in
  connection with the application. See Kadosh Op. Decl. Ex. 46; discussion
  Section III.B.2, supra. Additionally, Industria has met its burden of showing
  that Latinfood never used the Zenú mark in commerce prior to filing its
  application on January 25, 2013. On May 24, 2013, Mr. Zuluaga stated in an
  email to USTM that he had not printed any packaging materials and was
  waiting for approval of the registration application to do so because “there will
  be people who will try to stop it.” (Pl. St. ¶ 35; Def. Resp. ¶ 35; Kadosh Decl.
  Ex. 6.) Mr. Zuluaga did not connect with Cibao, the company hired to create
  Latinfood’s product labels and recipes, until 2013. (Kadosh Decl. Ex. 37 Isidor
  Tr. 31:9–15 (stating that Cibao began working with Mr. Zuluaga in 2013);
  Kadosh Decl. Ex. 15 (Aug. 21–23, 2013 email between Mr. Zuluaga and Ms.
  Isidor discussing a contract for their project).)
         Nevertheless, Latinfood insists that it had sales of its Zenú products in
  2011.40 For support, Latinfood cites to an email between counsel wherein Mr.
  Ingber provided “all extant sales documents related to HWZ’s 2011–2013 sales
  of the Zenú and Ranchera marks.” (See Ingber Op. Decl. Ex. 3.) The email
  purports to attach a document titled “HWZ 2010-2011 Invoices.pdf”; however,
  Latinfood fails to provide either the attachment itself or an explanation of how
  the attachment supports its claim. Latinfood fails to cite to any evidence in the
  record to show that it used the Zenú mark in commerce as of January 1, 2011,
  the claimed date of first use, or prior to January 25, 2013, the date on which
  the application was filed.




  40    In the discussion of another issue, above, I accepted this factual proposition,
  but only arguendo, because it did not affect the issue. See pp. 28–29 & n.24, supra.


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         Latinfood also asserts that, even if it falsely claimed to have used the
  Zenú mark in commerce as early as January 1, 2011, “a misstatement of a
  date of first use in a registration cannot, in and of itself, afford a basis for the
  cancellation thereof.” (Def. Op. pp. 31–32.) However, Mr. Zuluaga did not
  simply “misstate” a date of first use on his application; he attempted to show
  prior use of the Zenú mark on market shelves by submitting photos of
  Industria’s products as his own. As to materiality, Mr. Zuluaga filed his
  application pursuant to Section 1(a) of the Lanham Act, codified at 15 U.S.C. §
  1051(a), which requires prior use in commerce. (See Kadosh Decl. Ex. 4.)
  Because there is no evidence that Latinfood used the Zenú mark in commerce
  prior to filing the application, the statement was material. Finally, intent to
  deceive the USPTO can be inferred for the same reasons discussed above.
         Therefore, summary judgment is granted in favor of Industria on the
  source-misrepresentation claim.
         F. Attorney’s Fees Under the Lanham Act
         Both Industria and Latinfood seek attorney’s fees. Under the Lanham
  Act, a “court in exceptional cases may award reasonable attorney fees to the
  prevailing party.” 15 U.S.C. § 1117(a). “Before deciding whether an award of
  attorney’s fees is appropriate in a given case . . . a court must determine
  whether the party seeking fees has prevailed in the litigation.” CRST Van
  Expedited, Inc. v. E.E.O.C., 136 S. Ct. 1642, 1646 (2016) (citations omitted).
  Cases are exceptional for purposes of the Lanham Act when “(a) there is an
  unusual discrepancy in the merits of the positions taken by the parties or
  (b) the losing party has litigated the case in an ‘unreasonable manner.’” Fair
  Wind, 764 F.3d at 313.
         Neither side has fully prevailed on all of its claims. Therefore, I defer the
  determination of whether to award attorney’s fees until final disposition of this
  matter. See McKenna v. City of Philadelphia, 649 F.3d 171, 173 n.1 (3d Cir.
  2011) (finding the argument that the district court erred in deferring a
  determination on the award of attorney’s fees and costs was without merit).



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  Industria’s and Latinfood’s motions for an award of attorney’s fees pursuant to
  15 U.S.C. § 1117 are denied without prejudice to refiling just prior to entry of
  final judgment in this case.
         G. Copyright Claims
         Latinfood moves for summary judgment on Industria’s copyright
  infringement claims (Counts 5 through 10), asserting that such claims are
  barred by the statute of limitations. (Def. Mot. p. 29.) Industria does not move
  for summary judgment on its copyright claims.
         No civil action for copyright infringement may be brought “unless it is
  commenced within three years after the claim accrued.” 17 U.S.C. § 507(b). The
  Third Circuit, however, recognizes that the “discovery rule” may postpone
  accrual of a cause of action until “the plaintiff discovers, or with due diligence
  should have discovered, the injury that forms the basis for the claim.” William
  A. Graham Co. v. Haughey, 568 F.3d 425, 438 (3d Cir. 2009) (internal
  quotation marks omitted). When the discovery rule is implicated, it is
  defendant’s burden to demonstrate that “storm warnings” placed the plaintiff
  on notice of a potential claim; the burden then shifts to plaintiff “to show that
  [it] exercised reasonable due diligence and yet [was] unable to discover [its]
  injuries.” Id. (alterations in original).
         “Storm warnings ‘may take numerous forms,’ such as ‘any financial,
  legal or other data that would alert a reasonable person’” to the probability that
  infringement had occurred. In re Merck & Co., Inc., Secs, Derivative & “ERISA”
  Litig., 543 F.3d 150, 162 (3d Cir. 2008); see also Mathews v. Kidder, Peabody &
  Co., Inc., 260 F.3d 239, 252 (3d Cir. 2001) (noting that a “mix of information
  may constitute a storm warning in the aggregate”) (internal quotation marks
  omitted). Whether “storm warnings” existed is an objective inquiry. In re Merck
  & Co., 543 F.3d at 162.
         Latinfood and Industria agree that accrual of the three-year statute of
  limitations is subject to the “discovery rule.” (Def. Mot. p. 31; Pl. Op. p. 42.)
  However, the parties disagree as to when Industria should have perceived



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  “storm warnings.” According to Latinfood, Industria learned of Latinfood’s
  product designs in October 2013, but did not file its copyright infringement
  claims until April 21, 2017. (Def. Mot. p. 32.) For support, Latinfood relies on
  the deposition testimony of Industria’s commercial manager of marketing (see
  Kadosh Decl. Ex. 39; Ingber Decl. Ex. A) and an email dated October 19, 2013,
  informing Industria that a “pirate from New York” had attempted to print
  packaging labels bearing Industria’s Zenú mark (see Salazar Decl. Ex. S).41
  Luis Salazar, Industria’s commercial manager, testified to the effect that
  Industria became aware of Latinfood’s use of the Zenú mark in or around
  October 2013:
         Q: Is it true that Industria found out about Latinfood’s use of the
         Zenú mark in or around October of 2013?

         A: Yes.

         ...

         Q: Industria became aware of Latinfood’s use of the Zenú mark in
         the US in October of 2013 when Marquillas contacted Industria to
         inform them about Latinfood’s activity; is that correct?

         A: Within my knowledge that’s correct.

         [The examiner refers the deponent to paragraph 65 of the Amended
         Complaint, which states: “Upon discovering Defendants’
         registration of the ZENÚ mark and after conducting an
         investigation into Defendants’ business, Plaintiff commenced a
         proceeding before the Trademark Trial and Appeal Board seeking
         the cancellation of Defendants’ ZENÚ mark. This proceeding is still
         pending.”]




  41    Latinfood, while relying on the “pirate” email for statute of limitations purposes,
  inconsistently denies in its Statement of Supplemental Facts that it is the “pirate” to
  which the email refers. (See Def. Supp. St. ¶¶ 1–7.) Those facts do not change my
  analysis, however, because I conclude that Industria can recover for the copyright
  claims for the three years preceding its filing of the complaint. Dismissal is therefore
  not appropriate.


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         Q: . . . Did this investigation by Industria into Latinfood’s business
         begin in October of 2013 when Marquillas informed Industria of
         Latinfood’s activity?

         A: When Industria became aware of all of that information it was
         immediately handled through the attorneys. I don’t remember the
         exact date.

  (Ingber Decl. Ex. A Salazar Tr. 44:8-11, 55:8-56:13.) Industria’s petition
  for cancellation of Latinfood’s Zenú trademark registration was filed with
  the TTAB on September 9, 2014. (Pl. St. ¶ 115; Def. Resp. ¶ 115.)
         Industria acknowledges that it “first became [] aware of Latinfood’s
  attempt to pirate of the Zenú mark in October of 2013,” but asserts that it did
  not know “the full extent of Latinfood’s conduct or infringement” at that time.
  (Pl. Resp. ¶ 42.) As to the Ranchera mark, Industria responds that neither the
  deposition testimony nor the email contains any specific reference to
  Latinfood’s possible use of the Ranchera mark or trade dress. Therefore, says
  Industria, Latinfood failed to show the date on which Industria should have
  been alerted to the basis for its copyright infringement claim in connection with
  the Ranchera mark and trade dress. (Pl. Op. p. 43.)42
         Industria admits that it “first became [] aware of Latinfood’s attempt to
  pirate of the Zenú mark in October of 2013.” (Pl. Resp. ¶ 42.) Based on the
  deposition testimony, the October 2013 email prompted an investigation, which
  led to Industria’s filing of the trademark claim with the TTAB less than one
  year later. (See Ingber Decl. Ex. A Salazar Tr. 44:8-11, 55:8-56:13.) That
  evidence satisfies Latinfood’s burden of showing that Industria was at least



  42     In response, Latinfood states that its “Latinfood Zenú Ranchera Sausage
  Design” has been registered with the U.S. Copyright Office since March 2019 and
  therefore cannot infringe Industria’s Ranchera design. (Def. Reply p. 23.) That
  response is immaterial to the statute of limitations issue, because the March 2019
  date falls after Industria had already filed its copyright infringement claims in April
  2017. To the extent Latinfood is attempting to raise a new reason for dismissal, i.e.,
  noninfringement, such an argument would not appropriately be raised in a reply brief.
  Latinfood’s memorandum of law in support of its motion for summary judgment on the
  copyright infringement claims is limited to the statute of limitations.


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  “alerted” to the “probability” that copyright infringement, too, had occurred in
  October 2013 with respect to its Zenú mark and trade dress.
         With respect to the Ranchera mark, however, Latinfood has not met its
  burden. The evidence on which Latinfood relies relates only to the Zenú mark;
  it says nothing about when Industria learned of Latinfood’s use of the
  Ranchera mark. Therefore, I will deny Latinfood’s motion for summary
  judgment on Industria’s copyright infringement claims related to the Ranchera
  mark and trade dress.
         Returning to the Zenú mark, Industria insists that (1) its copyright
  infringement claims with respect to its Zenú mark, added by amendment on
  April 21, 2017, relate back to its original filing of the complaint on October 5,
  2016; and, (2) even if its claims do not relate back, Latinfood’s copyright
  infringement was a continuing harm and Industria should be able to pursue its
  copyright infringement claims accruing less than three years before the filing of
  the Amended Complaint, i.e., back to April 21, 2014. (Pl. Op. pp. 43–44.) I
  address each argument in turn.
         As to Industria’s first, relation-back argument, Federal Rule of Civil
  Procedure 15 provides as follows: “An amendment to a pleading relates back to
  the date of the original pleading when . . . the amendment asserts a claim or
  defense that arose out of the conduct, transaction, or occurrence set out--or
  attempted to be set out--in the original pleading.” Fed. R. Civ. P. 15(c)(1)(B).
  Thus, an amendment is deemed to “relate back” as long as the “original and
  amended petitions state claims that are tied to a common core of operative
  facts.” Mayle v. Felix, 545 U.S. 644, 664 (2005). However, “[a]n untimely claim
  ‘does not relate back . . . when it asserts a new ground for relief supported by
  facts that differ in both time and type from those the original pleading set
  forth.’” Whitaker v. Superintendent Coal Twp. SCI, 721 F. App’x 196, 201 (3d
  Cir. 2018) (quoting Mayle, 545 U.S. at 650)). The United States Court of
  Appeals for the Third Circuit has defined the rationale of the relation-back
  theory as follows:



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         In searching for a common core of operative facts in the two
         pleadings, courts should remain aware that the touchstone for
         relation back is fair notice, because Rule 15(c) is premised on the
         theory that a party who has been notified of litigation concerning a
         particular occurrence has been given all the notice that statutes of
         limitations were intended to provide. Thus, only where the
         opposing party is given fair notice of the general fact situation and
         the legal theory upon which the amending party proceeds will
         relation back be allowed. For example, we have held that
         amendments that restate the original claim with greater
         particularity or amplify the factual circumstances surrounding the
         pertinent conduct, transaction, or occurrence in the preceding
         pleading fall within Rule 15(c) because the opposing party will have
         had sufficient notice of the circumstances surrounding the
         allegations contained in the amendment.

  United States v. Santarelli, 929 F.3d 95, 101 (3d Cir. 2019) (internal citations
  and quotations omitted). Industria’s copyright infringement claims do not relate
  back to its original complaint because its trademark and copyright claims are
  based on different legal theories and require proof of distinct facts.
         “To establish a claim of copyright infringement, a plaintiff must establish:
  (1) ownership of a valid copyright; and (2) unauthorized copying of original
  elements of the plaintiff's work.” In re McGraw-Hill Glob. Educ. Holdings LLC,
  909 F.3d 48, 66 (3d Cir. 2018) (quoting Dun & Bradstreet Software Servs., Inc.
  v. Grace Consulting, Inc., 307 F.3d 197, 206 (3d Cir. 2002)). Although
  “copyright protection is both instant and automatic,” Georgia v. Public Resource
  Org., Inc., 140 S. Ct. 1498, 1513 (2020), ownership of a valid copyright is
  essential to bringing a copyright infringement claim, see McGraw-Hill, 909 F.3d
  at 66. Indeed, Industria does not even claim to have owned a valid copyright at
  the time it filed the original complaint; it did not obtain a valid copyright until
  some three months later, in December 2016. (See Def. St. ¶ 24; Pl. Resp. ¶ 24.)
  Therefore, Latinfood could not have been on notice of any copyright claim when
  Industria initiated this action.
         Industria’s second argument fares better. “In continuing infringement
  cases such as this, ‘[e]ach act of infringement is a distinct harm giving rise to


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  an independent claim for relief.’” William A. Graham Co. v. Haughey, 568 F.3d
  425, 433 (3d Cir. 2009) (quoting Stone v. Williams, 970 F.2d 1043, 1049 (2d
  Cir.1992)). “A statute of limitations creates a procedural bar to seeking a
  remedy . . . but does not extinguish a plaintiff’s underlying rights.” United
  States v. Norwood, 49 F.4th 189, 217 (3d Cir. 2022); see also Stone, 970 F.2d
  at 1051 (recognizing the “long established rule that statutes of limitations bar
  remedies, not the assertion of rights.”). Accordingly, Industria’s copyright
  infringement claims will not be dismissed in their entirety, but may be asserted
  for violations occurring during the three years prior to the filing of its Amended
  Complaint, i.e., for the period starting from April 21, 2014.
         H. Tortious Interference Counterclaim
         Under New Jersey law, a claimant alleging tortious interference with
  prospective economic advantage must show that (1) it had a reasonable
  expectation of economic advantage; (2) the interference was done intentionally
  and with malice; (3) the interference caused the loss of prospective gain; and
  (4) the injury caused damage. Printing Mart–Morristown v. Sharp Elecs. Corp.,
  116 N.J. 739, 751 (1989); see Avaya Inc., RP v. Telecom Labs, Inc., 838 F.3d
  354, 382 (3d Cir. 2016).
         Industria moves for summary judgment dismissing the tortious
  interference counterclaim because Latinfood has failed to provide evidence of
  the second or third elements: malice and a reasonable likelihood that the
  interference caused the loss of the prospective gain. (Pl. Mot. p. 49.) Latinfood
  does not move for summary judgment on this claim.
         On July 15, 2015, a sales manager for Cordialsa visited a supermarket
  which sold Latinfood’s Zenú products. (Pl. St. ¶ 120; Def. Resp. ¶ 120.) The
  sales manager told the supermarket’s store manager “that he was ‘surprised to
  find’ Zenú marked products at the store” because it was “clear to [him] that
  [Cordialsa was] not importing the product[s] from Colombia.” (Pl. St. ¶ 121,
  123; Def. Resp. ¶ 121, 123.) The sales manager told the store manager “that
  the [Zenú] product was not imported by [Cordialsa].” (Pl. St. ¶ 126; Def. Resp.



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  ¶ 126.) The sales manager pointed out to the store manager some products
  that the supermarket was “not supposed to be selling . . . because there’s
  supposedly an unauthorized supplier supplying it” and, “before anything
  happens, it’s better to just remove it from the selling floor -- from the sales
  floor.” (Pl. St. ¶ 128, 130; Def. Resp. ¶ 128, 130.) The sales manager also said
  that the products “w[ere]n’t an authentic brand under the Zenú brand.” (Pl. St.
  ¶ 129; Def. Resp. ¶ 129.) The sales manager did not tell the store manager that
  the Zenú products on the supermarket shelves were “rotten,” “spoiled” or of
  “inferior quality.” (Pl. St. ¶ 131; Def. Resp. ¶ 131.) The sales manager also did
  not say that the “products were illegal.” (Pl. St. ¶ 132; Def. Resp. ¶ 132.)
         The issue as presented is whether the sales manager’s stated that
  Latinfood’s products were “fake.” (See Pl. St. ¶ 127; Def. Resp. ¶ 127; Pl. Br. p.
  17; Def. Op. pp. 38, 41.) However, even if he did, Industria asserts that the
  sales manager could not have acted with malice because he only stated the
  truth: “Latinfood’s Zenú products[] were not authorized products by Industria,
  which he knew produced the brand” (Pl. Mot. p. 49), and therefore could
  reasonably be described as “fake.” Industria further argues that, even if
  Latinfood’s use of Industria’s mark and trade dress was not prohibited by law,
  it was not unreasonable for the sales manager to believe that it was. (Id.)
  According to Industria, because the sales manager had a “good-faith belief” in
  his statements, he did not act with malice. (Id. pp. 49–50.)
         Latinfood responds that, although it is not improper to give truthful
  statements, the manner in which the sales manager delivered his statements
  evinced malice. (Def. Op. p. 39 (quoting C.R. Bard, Inc. v. Wordtronics Corp.,
  235 N.J. Super. 168, 173 (N.J. Super. Ct. Law Div. 1989)).
         Malice “is determined on an individualized basis, and the standard is
  flexible, viewing the defendant’s actions in the context of the facts presented.”
  Lamorte Bums & Co. v. Walters, 167 N.J. 285, 306 (2001). “The conduct must
  be both ‘injurious and transgressive of generally accepted standards of
  common morality or of law,’” and “[t]he line clearly is drawn at conduct that is



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  fraudulent, dishonest, or illegal and thereby interferes with a competitor’s
  economic advantage.” Id. at 306–07 (internal citations omitted). As I recognized
  in my prior motion to dismiss opinion, the parties’ dispute over the sales
  manager’s statements implicated issues “at the heart of this lawsuit.” (DE 95 at
  p. 12.) At this point, however, we have a more developed factual record. For the
  reasons expressed above, Industria’s assertion of its trademark rights (if that is
  what happened, see infra) would have had a substantial foundation; even if its
  position is not ultimately borne out, it does not meet the high bar of malice.
  Failure to establish the element of malice is sufficient to defeat the claim
         Industria also asserts in the alternative that the sales manager’s
  purported interference did not cause Latinfood to lose prospective gains.
  Although the supermarket “continued to sell Latinfood’s Zenú products for
  months after the incident,” it did stop selling Latinfood’s products at some
  point. The only cited evidence as to the reason the sales stopped is the store
  manager’s ambiguous testimony:
         Q. Did you mention to [Mr. Zuluaga] at the time that you weren’t
         going to reorder the product?

         A. I don’t remember why we stopped ordering it. I don’t remember
         why. Like I said, I didn’t remove it from the shelf, we just sold out
         and never ordered again for whatever reason. I would guess that it
         was because we weren’t supposed to sell it and that’s why we never
         got it --

         Q. Okay.

         A. -- again.

  (Kadosh Decl. Ex. 38 Rodriguez Tr. 22:15–24; see Pl. St. ¶ 146; Def. Resp.
  ¶ 146.) Industria focuses on the store manager’s statement that he could not
  remember why the supermarket stopped ordering Latinfood’s products. (Pl.
  Mot. p. 50.) Latinfood, in contrast, focuses on the store manager’s testimony
  that he “would guess” that the supermarket stopped ordering its products
  because “we weren’t supposed to sell it.” (Def. Op. p. 38.) The supermarket
  manager’s testimony, even viewed in the light most favorable to Latinfood, does


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  not create a triable factual issue; the manager frankly acknowledged that he
  did not possess factual information as to the store’s reasons for discontinuing
  sales of Latinfood products, but proffered a “guess.” That admittedly non-
  factual guess is insufficient to repel a motion for summary judgment.43
         Therefore, I will grant Industria’s motion for summary judgment on
  Latinfood’s tortious interference claim.
         CONCLUSION
         For the reasons set forth above, Industria’s motion for summary
  judgment GRANTED in part and DENIED in part and Latinfood and Zuluaga’s
  motion for summary judgment is GRANTED in part and DENIED in part. As
  to defendants’ counterclaims, Industria and Cordialsa’s motion for summary
  judgment is GRANTED.
         An appropriate order follows.
  Dated: June 27, 2023
                                                  /s/ Kevin McNulty
                                                  ___________________________________
                                                  Hon. Kevin McNulty
                                                        United States District Judge




  43     The sub-issue of loss itself is also disputed. “A plaintiff need not identify
  multiple lost business opportunities to establish a cause of action for tortious
  interference, but it must identify one.” Austar Int’l Ltd. v. AustarPharma LLC, 425 F.
  Supp. 3d 336, 358 (D.N.J. 2019) (citing Am. Millennium Ins. Co. v. First Keystone Risk
  Retention Grp., Inc., 332 F. App’x 787, 790 (3d Cir. 2009) (indicating that to state a
  claim for tortious interference under New Jersey law a plaintiff must identify at least a
  “single, specific customer” that it lost or could have acquired)). Industria asserts that
  “Latinfood’s own sales data produced in discovery shows no discernable decline in
  sales that can be attributed to the July 15, 2015 incident.” (Pl. Mot. p. 50.) In
  response, Latinfood asserts that it lost business when the supermarket ceased
  carrying its Zenú branded products. (Def. Op. p. 40.) The ambiguity of the store
  manager’s testimony also casts doubt on this sub-issue.


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    Meat
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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


 INDUSTRIA DE ALIMENTOS ZENU
 S.A.S.,

       Plaintiff/Counter Defendant,

       v.
                                               Civ. No. 16-6576 (KM) (MAH)
 LATINFOOD U.S. CORP. d/b/a ZENU
 PRODUCTS CO. and WILSON                                  ORDER
 ZULUAGA,

      Defendants/Counter
 Claimants/Third Party Plaintiffs,

       v.

 CORDIALSA USA, INC.

       Third Party Defendant,



       THIS MATTER having come before the Court on the parties’ cross-
 motions for summary judgment and attorney’s fees (DE 265, 268, 274); and the
 Court having considered the submissions of the parties (DE 265, 266, 267,
 268, 269, 273, 274, 275, 279, 280); for the reasons stated in the accompanying
 Opinion, and for good cause shown;
       IT IS this 27th day of June, 2023,
       ORDERED that Plaintiffs’ motion for summary judgment (DE 265) is
 GRANTED with respect to Plaintiffs’ claim for source misrepresentation (Count
 11) and Defendants’ cross/counterclaim for tortious interference; and it is
 further
       ORDERED that Plaintiffs’ motion for summary judgment (DE 265) is
 GRANTED with respect to Plaintiffs’ claims for violation of Article 8 of the Inter
 American Convention for Trademark and Commercial Protection (“IAC”) with
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 respect to the Zenú mark (Count 12) and violation of Article 18 of the IAC with
 respect to the Zenú and Ranchera marks (Count 13), except that the effect of
 this ruling is STAYED pending compliance with the decretal paragraph
 immediately following; and it is further
       ORDERED that, within 30 days of the date of this Order, Industria shall
 provide appropriate authentication of its registration of the Zenú and Ranchera
 marks in Colombia or otherwise establish the authenticity of the Colombian
 registration, with Latinfood to submit any opposition within 14 days thereafter;
 and it is further
       ORDERED that Plaintiffs’ motion for summary judgment (DE 265) is
 DENIED in all other respects; and it is further
       ORDERED that Defendants’ motion for summary judgment (DE 268) is
 GRANTED with respect to Plaintiffs’ claims for false association trademark
 infringement (Counts 1 and 2); false advertising (Count 3); violation of Article 7
 of the IAC with respect to the Zenú and Ranchera marks (Count 12); violation
 of Article 8 of the IAC with respect to the Ranchera mark (Count 12); and
 unfair competition under New Jersey law (Counts 15 and 16); and it is further
       ORDERED that Defendants’ motion for summary judgment (DE 268) is
 DENIED in all other respects; and it is further
       ORDERED that the parties’ cross-motions for attorney’s fees are denied
 without prejudice to resubmission at the appropriate time, in accordance with
 the accompanying Opinion.
       For ease of reference, the remaining claims in the case (subject to
 authentication of Colombian records) would be violation of Articles 12, 16, 17,
 and 31 of the IAC (Counts 13, 14); trade dress infringement (Count 4); and
 copyright infringement (Counts 5 through 10).


                                                /s/ Kevin McNulty
                                                ___________________________________
                                                Hon. Kevin McNulty
                                                United States District Judge


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